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                        Exhibit 6
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF LOUISIANA


                                          )   MDL No. 2592
      IN RE: XARELTO (RIVAROXABAN)        )
      PRODUCTS LIABILITY LITIGATION       )   Judge Eldon E. Fallon




            Expert Report of B. Burt Gerstman, Ph.D.




By:   <tz~?=:~ ;;:
      B. BurfGtttmfill, Ph.D.
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Qualifications – B. Burt Gerstman, Ph.D.
My training and experience in comparative pathology, epidemiology, cardiovascular epidemiology,
clinical epidemiology, and pharmacoepidemiology have prepared me to provide expert testimony on the
safety and efficacy of novel oral anticoagulants. My undergraduate education was in biology (Harpur
College, SUNY Binghamtom), and my graduate education has been in veterinary medicine (Cornell
University), epidemiology & public health (UC Berkeley), and comparative pathology (UC Davis).
From 1985 to 1990, I was a Public Health Service Fellow and epidemiologist at the U.S. Food and Drug
Administration (FDA), Center for Drug Evaluation and Research. At the FDA, I was responsible for
adverse drug reaction surveillance and the conduct and review of observational and experimental
studies on drug safety. Since 1990, I have been a Professor in the Department of Health Science at San
Jose State University in San Jose, California with teaching responsibilities in epidemiology, public health,
and biostatistics. I have taught at the undergraduate and graduate level. I am the author of two best-
selling textbooks and more than four-dozen peer-reviewed scientific articles. Before coming to San Jose
State University, I taught post-graduate students at the National Institutes of Health FAES Graduates
School in Bethesda, Maryland. Before that, I was a Graduate Teaching Assistant for an environmental
epidemiology course that served upper division undergraduates and graduate students at UC Davis. I
have also trained U. S. Public Health Service Fellows and CDC Epidemic Intelligence Service officers in
field work and research.
While at the U.S. Food and Drug Administration, I specialized in the detection and quantification of
adverse drug reactions. I have experience in the analysis and interpretation of adverse event reports and
have reviewed and/or conducted cohort studies, case-control studies, and clinical trials. I have also
written on the history of epidemiology and the reliability of medical testing. Several longitudinal study
methods that use linked medical record systems can be traced to work my colleagues and I innovated in
the late-1980s at the U.S. Food and Drug Administration.
My professional affiliation is as an epidemiologist. As such, my “patient” is “an aggregate of people”
(Greenwood 1935), not the individual patient. My ultimate “client” and ultimate concerns are with
preventing health problems in the population.
My report has considered numerous sources, including published studies, FDA reviews and
announcements, product labels, and Advisory Committee presentations. All sources, regardless of their
findings, are evaluated based on their scientific merit. Methodologies employed in the preparation of
the report are standard practice in academic and regulatory and clinical epidemiology. As is appropriate
for all scientific investigators, I reserve the right to refine my opinions subject to ongoing research and
study.
I am being paid $400 per hour for my services. Over the past four years I have had the following
depositions (and no court appearances):
Deposition Testimony in Dembrowski et al. v. Bayer Inc., et al., Court of Queen's Bench for
Saskatchewan, Judicial Center of Saskatoon (Court File No. Q.B. No. 161 of 2009) (January 12, 2015).
Deposition Testimony In Re: Fresenius Granuflo/Naturalyte Dialysate Products Liability Litigation, MDL
(May 28, 2015).
Deposition Testimony In Re: Yasmin and Yaz (Drospirenone) Marketing, Sales Practices and Products
Liability Litigation, MDL No. 2100 (June 5, 2015).
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Safety and Efficacy of Rivaroxaban
(Xeralto®)
B. Burt Gerstman, Ph.D.


San Jose State University


b.b.gerstman@sjsu.edu




October 13, 2016



Citations and references are in the style of the Cochrane Collaborative.




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ACRONYMS
AF          atrial fibrillation
APIX        apixaban (Eliquis®)
BID         bis in die (twice a day)
CDER        Center for Drug Evaluation and Research (FDA)
CVA         cerebrovascular accident
DABI        dabigatran (Pradaxa®)
EDOX        edoxaban (Savaysa®)
EMA         European Medicines Agency
h           Hours
ICH         intracranial hemorrhage
INR         international normalized ratio
MRD         mean relative difference or mean relative absolute deviation, depending on context
NDA         new drug application
NI          non-inferiority
NOAC        novel oral anticoagulant
PD          pharmacodynamics
PK          Pharmacokinetics
POC         point-of-care [coagulometer]
PT          prothrombin time
PTR         proportion in the therapeutic range
PY          person-years or patient-years
PY          person-years
QD          quaque die (once a day)
RE-LY       Randomized Evaluation of Long Term Anticoagulant therapY with dabigatran etexilate
RIVA        rivaroxaban (Xarelto®)
ROCKET AF   Rivaroxaban Once Daily Oral Direct Factor Xa Inhibition Compared with Vitamin K
            Antagonism for Prevention of Stroke and Embolism Trial in Atrial Fibrillation
SE          [non-CNS] systemic embolism
SOC         standard of care
SPAF        stroke prevention in atrial fibrillation
SSE         stroke and systemic (non-central nervous system) embolism
TIA         transient ischemic attack
TTR         time in the therapeutic range
VKA         vitamin K antagonist
WARF        warfarin (Coumadin®)




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EXECUTIVE SUMMARY POINTS

  •   The ROCKET AF clinical trial has several flaws that bias its results against warfarin, making
      rivaroxaban appear to be relatively safe and effective by comparisons. Study design flaws
      include use of an enriched study population (e.g., with high prevalence of prior stroke/TIA),
      inadequate warfarin management, and censoring rules that were too harsh in truncating follow-
      up in study subjects.
  •   Achieving the non-inferiority margin established for the trial has meaning only if warfarin has
      been well-managed (the constancy assumption).
  •   Warfarin was too-often poorly managed in ROCKET AF. The reported mean TTR in ROCKET AF
      was 55%. This compares unfavorably with SPORTIF III (66%), SPORTIF V (68%), RE-LY (64%),
      ARISTOTLE (62%), and ENGAGE AF (65%). The TTR for U.S. and Canadian ROCKET AF sites was
      64%.
  •   The TTRs in ROCKET may actually be lower than has been reported because the devices used to
      measure INRs in the trial have since been proven to be unreliable. The cross-sectional
      proportion in the therapeutic range (PTR) for samples taken at week 12 and 24 of follow-up was
      only about 43%.
  •   After considering different types of follow-up rules, specific types of stroke, and the effect of
      warfarin management, rivaroxaban did not meet the non-inferiority margin for well-managed
      warfarin (TTR ≥ 65) with a last dose plus 30-day data scope (HR 1.10, 95% CI 0.75 – 1.64). The
      product label for rivaroxaban acknowledges this when it states “There are limited data on the
      relative effectiveness of XARELTO and warfarin in reducing the risk of stroke and systemic
      embolism when warfarin therapy is well-controlled.”
  •   The pre-specified primary safety objective of ROCKET AF (superior safety for major bleeds and
      clinically relevant non-major bleeds) was not met even when considering region in which
      warfarin was used poorly. Major bleeding also occurred more frequently with rivaroxaban than
      with warfarin (1.04, 95% CI 0.90 – 1.12), and occurred significantly more frequently among
      centers with well-managed warfarin (HR 1.23, 95% CI 1.08 – 1.40).
  •   In the U.S., major bleeding occurred significantly more frequently with rivaroxaban than with
      warfarin (e.g., HR 1.50, 95% CI 1.14 – 1.98). In U.S. clinics with well-managed warfarin, major


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     bleeding occurred twice as often with rivaroxaban (e.g. TTR Quartile 3 in the US: 1.93, 95% CI
     1.12 – 3.33).
 •   Critical organ bleeding (primarily in the form of intracranial hemorrhage) occurred significantly
     less frequently with rivaroxaban than with warfarin when considering all regions (HR 0.69, 95%
     CI 0.53 – 0.91). However, this is attributable to the high frequency of intracranial hemorrhage in
     East Asian warfarin users (Pheterogeneity = .029). Outside of East Asia, there was no significant
     difference between rivaroxaban and warfarin with respect to either critical organ bleeding or
     intracranial hemorrhage. In the US, there was no significant difference between rivaroxaban and
     warfarin with respect to critical organ bleeding (HR = 0.85, 95% CI 0.46 – 1.59).
 •   ROCKET AF relied on the INRatio® point-of-care device to monitor warfarin levels in the control
     arm of the trial. This device had a history of unreliability and was not adequately tested or
     evaluated before it was adopted for use in the trial. Performance was not periodically
     monitored under the prevailing conditions of the trial, as it should have been.
 •   When the performance of the INRatio® device as used in ROCKET AF was systematically
     evaluated, almost four years after the trial was completed, it was found to underestimate INRs
     by an average of 0.5 units compared to reference samples sent to the Duke Medical Center
     Central laboratory. In addition, it failed to meet the lax ISO 17593 criteria for agreement. A third
     (33%) of the supratherapeutic samples identified by the reference lab (INRLAB > 4) were
     misdiagnosed as therapeutic or hypotherapeutic by the point-of-care devices in the trial (INRPOC
     ≤ 3). These clinically meaningful differences were apt to lead to over-anticoagulation, increasing
     bleeding rates in the control arm of the trial and skewing the safety results in favor of
     rivaroxaban.
 •   ROCKET’s design included only once-daily 20 mg doses (or 15 mg once-daily for subjects with
     reduced kidney function). This precluded the ability to empirically compare outcome rates by
     dose. However, the pharmacokinetics, pharmacodynamics, and dose-response relations with
     pharmcodynamic parameters strongly suggest that splitting the drug into 10 mg twice-daily
     allotments would improve the safety profile of the drug.




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1 RIVAROXABAN AND ROCKET AF

Anticoagulation with vitamin K antagonists (VKAs) such as warfarin (WARF) have been established as
effectives therapies for stroke prevention in non-valvular atrial fibrillation patients (SPAF) for several
decades. Primary and secondary prevention trials have demonstrated the effectiveness of VKAs with
reductions in ischemic stroke occurrence by approximately two-thirds (Hart 2007). However, VKAs can
be difficult to dose properly and cannot be properly maintained in all patients. Therefore, several novel
oral anticoagulants (NOACs) have recently been introduced to overcome some of dosing problems
of VKAs. TABLE 1.1 lists these NOACs and their year of approval.

TABLE 1.1. Novel oral anticoagulants and their year of approval in the United States.
Drug         Brand       Trial name      Mechanism              Company                       Year
             name                                                                             Approved
ximelagatran Exanta      SPORTIF III/V direct thrombin          AstaZeneca                    withdrawn
                                         inhibitor                                            2006
dabigatran Pradaxa RE-LY                 direct thrombin        Boehringer Ingelheim          2010
                                         inhibitor

rivaroxaban Xarelto       ROCKET AF        direct factor Xa        Bayer and Johnson &        2011
                                           inhibitor               Johnson
apixaban      Eliquis     ARISTOTLE        direct factor Xa        Bristol Myers Squibb &     2012
                                           inhibitor               Pfizer
edoxaban      Savaysa     ENGAGE AF-       direct factor Xa        Daiichi Sankyo             2014
                          TIMI             inhibitor


This report focuses on the safety and efficacy of the NOAC called rivaroxaban (Xarelto®) for SPAF. The
pivotal phase III licensing trial of rivaroxaban (RIVA) for this indication is called ROCKET AF. This stands
for Rivaroxaban Once Daily Oral Direct Factor Xa Inhibition Compared with Vitamin K Antagonism for
Prevention of Stroke and Embolism Trial in Atrial Fibrillation.


The results from the ROCKET AF trial were initially published in September of 2011 in the New England
Journal of Medicine (Patel 2011). Follow-up correspondences from this study were published in February
of 2016 (Patel 2016b) and again in July of 2016 (Patel 2016a; Powell 2016). The full clinical trial report
for ROCKET AF was filed with the FDA sometime around December 23, 2010 (J & J 2010). References to



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the full clinical trial report will be cited as details about the trial are most comprehensively described in
the Rivaroxaban: Clinical Study Report (2010).


TABLE 1.2 lists selected key dates and occurrences in the licensing of RIVA in the United States. Among
the crucial documents in this process was an advice letter to the sponsor from the FDA Division of
Cardio-Renal Drugs issued in September of 2006. The original protocol for the study was issued by the
company in October of the same year. The study protocol was finalized with no further amendments in
February of 2009. The enrollment period for ROCKET AF participants began in December of 2006.
Randomization was completed by June of 2009.


A total of 17,232 screenings for eligible participants took place before 14,264 unique study subjects
were randomly assigned to a treatment group. The study end date was September 7, 2010. The main
public hearing (Advisory Committee Meeting) for licensing of RIVA for SPAF occurred on Thursday,
September 8, 2011 at the FDA Cardiovascular & Renal Drugs Advisory Committee Meeting (FDA 2011b).
Frequent references will be made to the Advisory Committee Meeting Transcript (2011) and the
associated FDA Briefing Document (FDA 2011a).




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TABLE 1.2. Key dates in the licensing of RIVA for SPAF (various sources included the FDA
Briefing Document 2011.
yyyy-mm-dd Event
2006-09        FDA/DCRP advice letter to company regarding conduct of ROCKET AF
2006-10-04     ROCKET AF trial original protocol
2006-12-18     ROCKET AF trial, first patient enrollment
2007-11-27     ROCKET AF original safety analysis plan
2009-02-13     final ROCKET AF protocol date (as listed in NDA)
2009-03-19     NDA 022406 RIVA for VTE prevention (EINSTEIN trials)
2009-06        ROCKET AF, end patient enrollment & randomization
2010-03        Publication of Rationale and Design article (ROCKET AF Study Investigators
               2010)
2010-05-28     ROCKET AF termination date
2010-10-19     Pradaxa® (dabigatran) approved date for SPAF indication
2010-10-20     ROCKET AF database lock
2011-09-08     publication of ROCKET AF findings—NEJM (Patel 2011)
2011-09-08     RIVA NDA 202439 for SPAF
2012-05-23     sNDA 202439 RIVA for acute coronary syndrome
2014-01-16     sNDA 202439 RIVA during first 90 days after acute coronary syndrome
2014-10-30     NDA 206316 edoxaban for SPAF (ENGAGE AF trial)
2015-12-05     INRatio Class 1 recall
2016-02-25     publication of correspondence on POC monitoring NEJM (Patel 2016b)
2016-07-06     publication of second correspondence on POC monitoring NEJM (Patel 2016a)
2016-07-11     voluntary withdrawal of the INRatio® from market (FDA 2016)




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2 ROCKET AF STUDY DESIGN AND METHODS

2.1 STUDY POPULATION

Study population. ROCKET AF was an international, multi-centered, double-dummy, blinded randomized
clinical trial (RCT) of SPAF that took place at 1178 clinical sites in 45 countries in North America, Latin
America, West Europe, East Europe, and the Asia Pacific regions. The study population consisted of
adults with non-valvular atrial fibrillation who were at elevated risk for stroke and non-CNS systemic
embolism. Eligible subjects had either a prior stroke, TIA or non-CNS systemic embolism (SE), or 2 or
more of the following risk factors: (a) age ≥75 years, (b) hypertension, (c) heart failure or left ventricular
ejection fraction ≤35 percent, or (d) diabetes mellitus. The number of subjects without a prior stroke,
TIA or SE and had only two risk factors was limited to approximately 10 percent of the total number of
enrolled subjects. That is, 90% of the study subjects had to have had a prior thromboembolism or three
or more of the aforementioned risk factors. This was to be an enriched study population.


Fifty-five percent (55%) of the study population had a prior stroke, systemic embolism, or TIA (Patel
2011). The median age was 73, and a quarter of the patients were 78 or older. There was a high
prevalence of comorbid conditions in the study population with a mean CHADS2 scores of 3.5 (median
3.0). By comparison, the mean CHADS2 score in RE-LY (the non-inferiority trial that compared
dabigatran to warfarin) was 2.1 and mean age was 71.5 years with 20% of the population having a prior
stroke or TIA (Connolly 2009).


FDA warning about using enriched study population. In a series of communications before the study was
initiated, the FDA warned the sponsor that enriching the population with this level of morbidity was a
mistake (FDA 2006). The high level of morbidity in the study population with respect to prior strokes and
TIAs would cause problem in interpretation and harm the study’s validity (Bayer HealthCare 2006a,
2006b; FDA 2006). The FDA’s point was that there was no assurance that WARF would be as effective in
the enriched population. This would violate the constancy assumption (§2.3) that underlies the non-
inferiority design of the study. Under these circumstances, a sizable proportion of the cerebrovascular
accidents in this study population could be unrelated to atrial fibrillation and be due to non-embolic




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causes such as vascular sclerosis (FDA Briefing Document 2011, p. 27). It was a mistake for the sponsor
to ignore the FDA’s good advice on this study design issue.


2.2 TREATMENTS

Treatment arms. Subjects were randomly assigned to receive either 20 mg of RIVA once daily plus a
placebo that looked like warfarin (treatment group) or oral warfarin (WARF) once daily plus a sham that
looked like RIVA (control group). Subjects with moderate renal impairment (creatinine clearance
between 30 and 49 mL/min) received a reduced RIVA dose of (15 mg once daily).


Warfarin dosing. Patients randomized to WARF had their dose titrated to a INR range 2.0 to 3.0 with a
central target of 2.5. No centralized warfarin treatment protocol was used; clinical investigators were
requested to adjust warfarin dose according to their usual practices. A modified INRatio® point-of-care
(POC) coagulometer was used to monitor INR levels. The modified device reported a 7-digit code that
corresponded to either a real or sham INR value. If the study subject was randomized to RIVA, an
interactive voice or web response system issued a sham INR value intended to mimic INR values as if the
patient was really taking WARF. If the subject was randomized to WARF, a real INR value were issued by
the interactive response system. Subjects in both arms of the trial were submitted to INR testing at least
once per month.


Warfarin monitoring. Because ROCKET’s protocol allowed investigators to monitor and dose warfarin at
their discretion, investigators could wait up to four weeks to bring the patients back to check the
patients INRs when levels were not inside the therapeutic range. This would allow for too much time to
pass for warfarin adjustment (FDA Transcript 2011 page 310). Because the risk of thromboembolism
increases substantially when the INR falls below the therapeutic zone (especially when it falls below 1.5)
and the risk of major bleeding increases progressively above the therapeutic range [FIGURE 2.1], just
how quickly non-therapeutic INRs are dealt with is of clinical relevance.

Lack of a warfarin dosing algorithm. In addition, the lack of a standard warfarin dosing algorithm
contributed to the wide geographical- and center-based variation in INR control and time in the
therapeutic range (TTR) in ROCKET AF patients [TABLE 2.5]. The warfarin dosing algorithm accounted for
87 percent of the between-center variability in TTRs and 55 percent of the between-country variation in




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the RE-LY STUDY: each 10 percent increase in-center algorithm-consistent dosing in the RE-LY trial
independently predicted a 6 percent increase in TTR and an 8 percent decrease in the stroke, systemic
embolism, and major hemorrhage (Van Spall 2012).


2.3 ADEQUACY OF THE COMPARATOR GROUP

2.3.1    The constancy assumption and non-inferiority margin

ROCKET AF was a non-inferiority trial for its efficacy endpoint. It is important to acknowledge that “non-
inferiority” is not the same thing as “equivalent.” a Statistically and biomedically, one cannot prove
equivalence. Therefore, we are forced to prove non-inferiority.


In order to prove non-inferiority, one must first define a statistical non-inferiority margin. The non-
inferiority margin in ROCKET AF was based on a number of assumptions, the foremost being that
warfarin would prevent approximately 64 percent of the strokes in the warfarin control group in the trial
had they not been anticoagulated (the constancy assumption) (Fleming 2008). Keep in mind that if the
constancy assumption is violated, the entire basis of the trial is undermined.


The non-inferiority margin was then calculated to retain 50 percent of warfarin’s assumed level of
efficacy. [The “50 percent” retention of effect is an arbitrary threshold that should be kept in mind when
interpreting results.] Statistically, this translated into achieving an upper 95 percent confidence limit for
the hazard ratio (HR) comparing RIVA to WARF for the efficacy endpoint (not the safety endpoint) of
1.38. It is relevant to recognize that achieving the non-inferiority margin provides meaning only if
warfarin’s efficacy is maintained or improved (the constancy assumption), and that this still only proves
that rivaroxaban has retained half of warfarin’s effect.




a
  Legislation requires that we consider whether a new drug for a life threatening condition such as atrial fibrillation
be as-effective-as drugs currently on the market. The Federal Register (Vol. 60, No. 147, pp 39180-81, Aug 1, 1995).
“In certain circumstances, it may be important to consider whether a new product is less effective than available
alternative therapies, when less effectiveness could present a danger to the patient or to the public. For example,
it is essential for public health protection that a new therapy be as effective as alternatives that are already
approved for marketing when ... [t]he disease to be treated is life-threatening or capable of causing irreversible
morbidity (e.g., stroke or heart attack) ….”




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In studies of non-inferiority, we must be vigilant of creeping non-inferiority or bio-creep (Everson-
Stewart 2010). Creeping non-inferiority occurs when a trial comes along and the comparator is not
used as well as it was used previously. In the ROCKET AF trial, we will see that the reported mean TTR
(a measure of how well warfarin was used) was 55 percent. This is about 10 points lower than other
contemporary anticoagulation trials [TABLE 2.1]. The concern is that successive anticoagulation trials
will argue they are pretty close to ROCKET’s TTR of 55 percent and claim that this is OK too.


2.3.2   Time in the therapeutic range

The safety and efficacy of warfarin depends on treatment adherence and good quality anticoagulation
as reflected by time in the therapeutic range (TTR) of the international normalized ratio (INR) (De
Caterina 2013; Gallego 2013). The INR is a standardized measure used to monitor oral anticoagulation
with vitamin K antagonists. The INR for a person not using warfarin is 0.8–1.2. The therapeutic range to
aim for when prescribing warfarin to prevent strokes in atrial fibrillation patients is 2.0 – 3.0 inclusive
(Fuster 2001). This range has been developed as the “sweet spot” which maximizes stroke prevention
while minimizing adverse risks of bleeding.


Time spent above the therapeutic range increases risks of bleeding substantially. The higher and longer
the patient is above the therapeutic range, the higher the risk of bleeding. Time spent below the
therapeutic range confers a higher than necessary risk of thromboembolism and ischemic stroke. It is
common sense to maximize the amount of time a patient spends in the therapeutic range.


FIGURE 2.1 illustrates the dose-response relation between patient INR, ischemic stroke occurrence, and
intracranial bleeding (Fuster 2006). Note the steep increase in bleeding risk with no additional benefit
stroke prevention when INRs exceed 3.0. Compared with INR 2.0 to 2.5, the relative odds of
thromboembolism increases strikingly at INR ≤ 1.8, while there is an exponential risk in bleeding with
INRs above 3.0. [HRs, ORs, and RRs are multiplicative scales; a linear increase in these measures
indicates an exponential risk on rates.]




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FIGURE 2.1. Odds ratios of ischemic stroke and intracranial bleeding according to INR in SPAF (Fuster 2006).

The Canadian Agency for Drug and Technologies in Health estimates that the probability of a major
bleeding event increases three-fold for patients who are above the therapeutic range compared to
those that are within the therapeutic range (CADTH 2014). A study by An and colleagues found that a
TTR of < 55 percent was associated with more than twice the rate of major bleeding compared to a TTR
≥ 55 percent (calculation using the study data: relative rate ratio = 1.93 / 0.84 = 2.3) (2015). A 6 percent
increase in TTR is associated with an 8 percent decrease in strokes (Van Spall 2012).


It is critically important to maintain patients in the therapeutic range in order to maximize the efficacy of
warfarin while avoiding needless bleeding episodes. The Leiden clinical epidemiology group found that
for every increase of one unit of INR above the therapeutic range, the bleeding risk increases between
42 percent and 44 percent (van der Meer 1996). Patients who spent at least 70% of time within
therapeutic range have a 79% reduced risk of stroke compared to patients with ≤ 30% of time in the TTR
(Gallagher 2011).


Also note that there is threshold below which there appears to be little benefit of warfarin over
antiplatelet therapy. This threshold is roughly 60 percent (Connolly 2008).




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The sponsor’s assessment of TTR and bleeding risk. The safe and effective use of warfarin for SPAF
depends on its careful monitoring and dose adjustment. The sponsor claims that TTR is “not a surrogate
for anticoagulant benefit-risk balance” (FDA Transcript 2011 p. 88), stating that ROCKET AF “found no
relationship between center TTR and the treatment effect of rivaroxaban versus warfarin.” In contrast,
the FDA demonstrated downturns in both safety and effectiveness when TTRs fell below the 64 or 65.


While ROCKET AF investigators appear to accept the dose-response relation between INR and stroke,
they are skeptical about the relation between INR and bleeding risk. For example, Piccini (2014) states
“Several studies have shown a direct relationship between TTR and lower rates of stroke and systemic
embolism, while the relationship to bleeding risk has been more variable.” The later part of this
statement (about bleeding risk) includes only two cited sources (Hylek 2003; Samsa 2000). Samsa (2000)
is a review article that has several subtle points about TTR and frequency of INR testing. In contrast to
the statement in Piccini (2014), Samsa concludes “the relationship between TTR and clinical outcomes is
strong, thus supporting use of TTR as a primary outcome variable.” [There are some subtle points about
the modeling of risk function curves that are influenced by patient factors and across-study
comparisons, but these issues are beyond the scope of this report.] With respect to Hylek (2003), there
was some leveling-out of bleeding risk in the 3.6 – 3.9 INR group. However, this finding is based on only
247 person-years of observation and one case. The strength and shape of the relation between TTR and
events rates are not in question.


2.3.3   TTR in ROCKET AF

As noted, the standard method of summarizing the quality of warfarin treatment in individuals and
populations is by measuring time in the therapeutic range (TTR) according to the Rosendaal method
(1993). There is a direct relation between TTR and the safety and efficacy of warfarin therapy. TTRs of
less than 60 percent have been referred to as “labile” (Pisters 2010). The reported mean TTR in the
ROCKET AF trial was substantially lower than 60 percent. TABLE 2.1 lists mean TTRs FOR ROCKET AF
and eight other contemporary anticoagulation trials. The mean TTR in the other eight trials was 66%.
Except for in the US and Western Europe [TABLE 2.5], reported mean TTRs in ROCKET AF were
substantially less than this.




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TABLE 2.1. Mean TTRs in relatively recent anticoagulation trials.
Trial                                       Warfarin compared to       Blinded?        Mean TTR
ROCKET AF overall (Patel 2011)              rivaroxaban                Yes             55(1)
ROCKET AF US & Canada (Singer 2013)         rivaroxaban                Yes             64
ACTIVE (2006)                               clopidogrel + ASA          No              64
AMADEUS (Bousser 2008)                      idraparinux                No              63
ARISTOTLE (Granger 2011)                    apaxiban                   Yes             62
EMBRACE AC (Whitlock 2016)                  tecarfarin                 Yes             73
RE-LY (Connolly 2009)                       dabigatran                 No              64
SPORTIF III (Olsson 2003)                   ximelagatran               No              66
SPORTIF V (Albers 2005)                     ximelagatran               Yes             68
ENGAGE (Giugliano 2013)                     edoxaban                   Yes             68


TABLE 2.2 compares the reported TTR quantiles from the ROCKET AF, RE-LY, and ACTIVE trials. Note that
the median for RE-LY and ACTIVE W had higher values than the third quartile for ROCKET AF.


TABLE 2.2. INR quartiles in ROCKET AF, RE-LY, and Active W (Source: FDA Advisory Committee Slide 24).
Study                                  Q1                       Q2 (median)          Q3
ROCKET (FDA analysis)                  47                       56                   64
RE-LY (Wallentin 2010)                 57                       66                   73
ACTIVE W (Connolly 2008)               54                       65                   73



Proportion in the therapeutic range. An alternative way to look at the quality of warfarin treatment is to
determine multiple cross-sections of the proportion of patients in the therapeutic range (PTR). This is
helpful because of controversies associated with the POC coagulometer used ROCKET AF. As will be
discussed in §5, the coagulometer used in ROCKET AF was recalled in 2014 (FDA 2014) and ultimately
removed from the market in 2016 (FDA 2016). There are however a sample of plasma samples from
ROCKET AF that had their INRs determined by the Duke Medical Center Laboratory. Of these samples,
only ~ 43 percent were in the therapeutic range [TABLE 2.3] at either weeks 12 and 24 of follow-up.




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TABLE 2.3. Percentages of warfarin subjects in ROCKET AF that were in the therapeutic range (INR 2.0 –
3.0) at week 12 and week 24 of follow-up based on INR determinations from the Duke Medical Center
Central Laboratory (Janssen Research & Development 2016a).




By comparison, higher percentages were in the therapeutic range according to the point-of-care devices
used in ROCKET AF [TABLE 2.4]. This strongly suggests that the TTRs in the ROCKET report may be lower
than reported because the PTR and TTR are different statistics, it is highly likely that they will parallel.
(The TTR is merely a linear interpolation of PTRs over time.)


TABLE 2.4. Source: (Janssen Research & Development 2016)




Low TTRs in ROCKET AF. Many factors have been posited to explain why Rocket’s TTRs were lower than
that of other trials. However, these medical explanations do not justify the biases imparted in the study.
For example, one factor that has been suggested for the low TTRs in ROCKET is the high prevalence of
comorbidity in the study population. Notwithstanding the fact that the sponsor was warned not to use
the enriched study population (§2.1), this does not over-ride the violation of the constancy assumption.


One reason for the lower than expected TTRs in ROCKET AF was that there was no standardized
protocol for how to deal with patients when their INRs fell outside of the therapeutic range;
treating physicians just used the local standard of care. Dosing algorithms have been demonstrated
to improve TTRs range compared with empiric dosing (Grzymala-Lubanski 2013; Kim 2010; Poller
2008; Van Spall 2012). “Knowing that we needed to see robust evidence of non-inferiority with
good use of warfarin, it would have been much more prudent to have taken the precautions



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necessary to make certain that the use of warfarin met the highest contemporary standards, and
those measures were simply not taken” (Nissen, FDA Transcript 2011, p. 281). As addressed in §2.2,
a centralized warfarin dosing algorithm could have ameliorated sub-optimal TTRs at some of the ROCKET
AF clinical sites (Van Spall 2012). Another probably reason for the low TTRs was the imprecision of the
devices used to record INRs. Imprecision of INR readings with substantial intra-individual variability in
INRs over time can lead to a “ping-ponging” of warfarin dose with failure to reach a stable dose within a
reasonable period of time.


Region. Independent of patient factors, “region” had a large impact on TTRs in ROCKET AF (Singer 2013).
TABLE 2.5 presents TTRs from ROCKET AF by region. TTRs ranged from 64% in North American to under
50% in Eastern Europe. Regional differences were associated with reduced frequency of INR testing. Fpr
example, after an INR ≤1.5 the median time to the next test in Western Europe and North America was 7
to 9 days. In Eastern Europe and East Asia, the median follow-up interval was closer to a month (26 or
27 days). Similarly, the median time to a subsequent INR test after an INR ≥4.0 was about a week in
Western Europe and North America versus 25 and 23 days in Eastern Europe and East Asia, respectively
(Singer 2013 p. 7).



TABLE 2.5. Percentage of time in INR category by region (Source FDA Briefing Document 2011 p. 150).




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2.3.4   What TTR represents well-managed warfarin?

One might suggest that the mean TTR of 55 percent seen in ROCKET AF is “real world,” and that outside
of clinical trial settings, TTRs are typically in this range. While it is true that some studies have found
TTRs in this range (Matchar 2002), this is worse than real world and is certainly not a reasonable
benchmark for a modern anticoagulation trial. A recent systematic review found a mean TTR of 62
percent with routine care and a mean of 66 percent at anticoagulation clinics (Connock 2007). A
systematic review by the Canadian Agency for Drugs and Technology in Health (2014) found that we can
expect a TTR of about 62 percent with central lab based testing, 68 percent with clinic-based point of
care, 66 percent with patient self-testing, and up to 78 percent with motivated patient self-management
[TABLE 2.6].


TABLE 2.6. TTR with various INR testing strategies. Source: CADTH 2014 page 15.




The non-inferiority margin for this trial was based on maintaining half the efficacy of warfarin assuming
that well-managed warfarin would prevent more than 60% of the thrombotic strokes and systemic
emboli in the population. Once this constancy assumption is abandoned, the non-inferiority margin is no
longer relevant.


What then can we assume for reasonable well-maintained warfarin? It is reasonable to assume that a
modern anticoagulation trial achieves a mean TTR of around 65%. This is what ROCKET AF achieved at its
North American clinics [TABLE 2.2] and is consistent with the opinion of “66 percent” expressed at am
expert opinion conference (Kaatz 2008). Opinions expressed at the Sep 8, 2011 FDA Advisory Committee
meeting on Xarelto support this opinion as well. For example, FDA medical reviewer Rose defined
“skillful warfarin use” as a TTR of 70 percent and noted that community clinics are routinely achieving
this level (FDA Transcript 2011, p. 208). Fourteen of the 15 sites in ROCKET AF that achieved a TTR of 70
percent were community cardiology sites with no academic connection. Cleveland Clinic cardiologists




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and FDA Advisory Committee member Nissen stated “It's not uncommon to see rates up around 70
percent in well-managed warfarin clinics” (FDA Transcript 2011, p. 339).


2.4 FOLLOW-UP OF PATIENTS (ITT AND PER PROTOCOL ANALYSES)

Data scopes

Notwithstanding the Cox regression in ROCKET AF—and one can make a case that computationally
regression methods are unnecessary with these data (§5.3.2)—the statistical analysis of this study is
straightforward in all ways except one. This complexity involves how long to follow patients after they
are enrolled in the study or randomized. This is because different conclusions will derived from these
data depending how one defines “follow-up.” As FDA/CDER Director Bob Temple said at the Sep 2011
Advisory Committee meeting:


        Whether you’re reasonable convinced [of] non-inferiority… depends on which analysis
        you look at (FDA Transcript 2011, p. 247).


To understand this complexity, one has to understand the reasoning behind intention-to-treat (ITT)
analysis. ITT is also referred to as “analyze-as-randomized” because outcomes are counted through the
end of the study, even when study subjects stop taking the study drugs. This may seem counter-intuitive
(how can an agent cause something when it is no longer active?), but is well established in both theory
and practice, as it relates to (a) evidence-based results (as a medication is used in practice as opposed to
its ideal use), (b) preventing selection bias, and (c) maintaining the statistical integrity of randomization. b


        Illustrative example. Consider two weight loss diets, one of which is effective while the
        other isn't. Some study participants will lose weight regardless and will stay in the study.
        Those who fail to lose weight are more likely to drop out, if only to try something else.
        This will make the ineffective diet look better than it really is--and, by comparison, the



b
 The mathematical connection to probability models used to derive P values and non-inferiority margins are
connected only to the random allocation of the treatment. Once exclusion are made to disturb the way the
subjects were randomized, the connection to those probability models are broken. Hence, “analyze as
randomized.”




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        effective diet look worse than it really is--because the only subjects who remain in the
        study following the ineffective diet are those losing weight! (Dallal 2012)


Note that here are some ROCKET AF documents that use “ITT” to refer to the status of subjects based on
entry into the study population. However, “ITT” should be reserved to refer to the status of patient
based on exit from the study population.


        Rigorous entry criteria are not necessary for a randomized trial, but rigorous follow-up is.
        Even patients who do not get the proper treatment must not be withdrawn from the
        analysis…Sporadic losses and, particularly, withdrawals can bias the results, and
        adopting an explicit policy towards withdrawals and losses should be part of the design
        stage of a trial. One excellent policy is to accept no withdrawals under any circumstances
        (Peto 1976, 1977).


The “opposite” of ITT analysis is “per protocol” analysis. Per protocol analysis include events only when
patients follow the protocol and remain on treatment.


The argument against ITT in non-inferiority trials is that you do not want to include a large amount of
follow-up time after people are off of treatment because the effects of the treatment are no longer
influencing the outcomes. By including non-exposed follow-up time in the treatment arm of the trial
with ITT analysis, you will dilute differences in favor of the alternative hypothesis of "no difference."
Therefore, ITT may require some limitation of follow-up time when patients discontinue their study
drug. This can be achieved by limiting the data scope of an ITT analysis. In effect, we want a data scope
that is large enough to capture treatment-influenced events, but small enough to leave out the neutral
“noise.” Examples of data scope used by ROCKET AF investigators include “last dose +30 days” and “until
site notification.” Advisory Committee member Fleming, who best expressed the intent of ITT analysis
during the Advisory Committee meeting, favored a data scope of “at least +30 days” (FDA 2011
Transcript page 300). This seems appropriate for many applications, , although “until site notification” is
appropriate for others.


Informative censoring. Informative censoring occurs in a clinical trial when study subjects become
missing through any mechanism (loss of follow-up, withdrawn consent, discontinuation of the study



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drug) that is related to the study (Ranganathan 2012). This can undermine the integrity of a clinical trial.
FIGURE 2.2 documents the types of censoring in the ROCKET AF trial. Based on the data in this figure:


    •    Reported “loss to follow-up” rates were nearly balanced in the arms of the trial (398 / 7111 vs
         364 / 7125, P = .19).
    •    Many study subjects discontinued the study drug before the end of the trial. This occurred
         slightly more frequently (23.9%) with rivaroxaban than with warfarin (22.7%): 1444 / 7111 vs.
         1372 / 7125, P = 0.116.
    •    A greater number of subjects assigned to rivaroxaban (4.3%) permanently discontinued their
         drug due to bleeding complications compared to subjects assigned to warfarin (3.1%): 304 /
         7111 vs. 219 / 7125, P = .00014 (Rivaroxaban: Clinical Study Report 2010, p. 108). This could
         indicated informative censoring. Investigators could have been more likely to remove patient
         from rivaroxaban and put them on warfarin (a drug they knew how to manage) when bleeding
         was encountered (FDA Transcript 2010, p. 223).




FIGURE 2.2. Withdrawals, lost to follow-up, and discontinuations. Source: Rivaroxaban: Clinical Study Report 2010 p. 102.




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The informative censuring could be related to unblinding. When a patient is seen outside of the
investigation site, an unblinded INR could occur (e.g., XARELTO_JANSSEN_03933643). If the outside INR
is high, the physician would think that the patient was in the WARF arm of the trial. If the outside INR
was low, the opposite would probably be true. Diagnostic suspicion bias occurs when knowledge of the
subject’s exposure influenced both the intensity and the outcome of the diagnostic process (Sackett
1979). We recognize that ascertainment of many of the study endpoints in ROCKET AF required
judgment and the pursuit of diagnostic tests. To the credit of the designers of the trial, the study was
double-blinded and placebo controlled. Blinding cannot entirely eliminate subjectivity in the diagnostic
pursuit of study endpoints. It can however “balance out” errors “non-differentially.” When unblinding
occurs, the assurance of non-differential detection is weakened and the study becomes prone to
diagnostic suspicion bias.




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2.5 SECTION SUMMARY POINTS
1. The international, multi-centered, double-blinded, randomized clinical trial known as ROCKET AF
    compared 20 mg once daily rivaroxaban to dose-adjusted warfarin for stroke prevention in non-
    valvular atrial fibrillation patients. This trial took place at 1178 clinical sites in 45 countries between
    2007 and 2010.
2. ROCKET was a non-inferiority trial, with the assumption of non-inferiority (not the same as
    “equivalence”) resting on the assumption that warfarin would retain at least 50 percent of its usual
    effect (the “constancy assumption”).
3. The enriched ROCKET AF study population had a high prevalence of prior strokes and comorbid
    conditions. This complicated the interpretation of the study because a large percentage of the
    strokes in this type of population could be unrelated to atrial fibrillation.
4. The ROCKET AF study protocol lacked a centralized protocol for warfarin dose adjustment. This
    contributed to wide variations in how well warfarin was managed in the trial.
5. The reported mean TTR in ROCKET (55 percent) was approximately 10 points lower than in other
    contemporary anticoagulation trials. The actual mean TTR might have been less than the reported
    mean TTR because of malfunctions in the point-of-care device used to determine INRs in the trial.
6. Hemorrhagic stroke events are double-counted as both an efficacy and safety endpoint in ROCKET
    reports. They should be counted only as a safety endpoint.
7. ROCKET relied on a per protocol “last dose + 2 day” efficacy analysis. More robust, evidence-based
    methods extend follow-up well-past the last dose via an ITT or “last dose +30 days” analysis.




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3 EFFICACY

3.1 OBJECTIVES AND ENDPOINTS

Primary objective. The principal efficacy objective of ROCKET AF was to demonstrate that RIVA was non-
inferior to well-managed WARF for SPAF. The primary efficacy endpoint was a composite of stroke and
non-CNS systemic embolism. The stroke endpoint included both ischemic stroke, hemorrhagic stroke,
and strokes of uncertain type (Rivaroxaban: Clinical Study Report 2010, p. 23). Secondary endpoints
included each specific type of event and additional composites. We will not consider the additional
composites here, but will consider specific types of strokes separately.


Case definitions. Stroke was defined as a new, sudden focal neurological deficit resulting from a
presumed cerebrovascular cause that is not reversible with 24 hours and not due to readily identifiable
cause such as a tumor or seizure. Non-CNS systemic embolism was defined as abrupt vascular
insufficiency associated with clinical or radiological evidence of arterial occlusion in the absence of other
likely mechanisms such as trauma atherosclerosis. Angiographic evidence of the primary endpoint was
not required for stroke but was required for embolism to the lower extremities for SE. Additional
information about the ascertainment of cases is best described in the document referred to as the
Clinical Endpoint Committee Charter (Clinical Endpoint Committee ROCKET-AF 2010).


Hemorrhagic strokes were counted as both an efficacy endpoint and safety endpoint in ROCKET AF
reports. From a pathogenic perspective, the inclusion of hemorrhagic stroke as an efficacy endpoint is
inappropriate. Anticoagulants cause and do not prevent hemorrhagic strokes. [A distinction is made
between primary hemorrhagic strokes and hemorrhagic transformations of ischemic strokes.] From a
statistical perspective, double-counting hemorrhagic strokes as both an efficacy and safety endpoint is
unjustifiable. The counter-argument states that, to the patient, the distinction between ischemic and
hemorrhagic strokes is inconsequential: you don’t want to experience either. However, double counting
hemorrhagic strokes as both a safety endpoint and efficacy endpoint is unjustifiable. As FDA Advisory
Committee member Kaul put it: “You can't have your cake and eat it, too” (FDA Transcript 2011, p. 311).
Therefore, when feasible to do so, this report will address hemorrhagic strokes separately and as a




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safety endpoint. This makes the most sense pathogenically and avoids the trap of double counting the
endpoint.


Events following discontinuation. A significant number of events occurred in the RIVA group in the 2 to
30 days after participants discontinued their study drug. The sponsor wanted to ignore this by noting
that a different transition regimen might have seen different results. However, with evidence-based
medicine, it is important to measure the effects of drug as used in practice, including during periods of
discontinuation. It is also important to have an “intention-to-treat” data scope in order to avoid bias in
the results and maintain the probabilities of null hypothesis and non-inferiority testing. [This latter point
has to do with maintaining the integrity of the probability models by respecting the random allocation of
the treatments.] In any event, it is not uncommon for atrial fibrillation patients to interrupt therapy.
There will be times when a patient cannot get to the pharmacy or simply forgets to take their
medication. In addition, patients frequently need to discontinue (temporarily or permanently) their
medication when they are experiencing a minor or major adverse reaction (e.g., skin rash, GI upset,
bleeding), when they are having surgical procedures, and for other reasons. The fact that patients can
get into trouble when temporarily or permanently discontinuing their drug is not irrelevant. Whereas
the pharmacological effects of WARF are "slow on, slow off,” the effects of RIVA are rapid. This makes
warfarin relatively forgiving during periods of discontinuation while rivaroxaban is not so.


3.2 PRIMARY EFFICACY ENDPOINT RESULTS
Whether we are reasonably convinced of the non-inferiority of RIVA depends on which analysis we
consider. The company reported a hazard ratio (HR) of 0.79 (95% CI, 0.66 – 0.96) for the primary efficacy
endpoint (per protocol analysis, any type of stroke, including hemorrhagic stroke, and systemic
embolism). These numerical results met the non-inferiority margin with superior efficacy. However,
these results are cast into doubt when we consider more appropriate analytic methods (e.g., last dose +
30 days) and well-managed warfarin.


TABLE 3.1 presents the FDA’s analysis of the primary safety endpoint. In the well-managed warfarin
centers (TTR ≥ 65), the efficacy results do not pass muster (last 3 rows of TABLE 3.1). An additional FDA
analysis demonstrated that even among the per protocol population with a “last dose + 2 days” data




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scope, the relative efficacy of RIVA diminishes at around a TTR of 65 with the upper confidence limits
exceeding the non-inferiority threshold at this point [FIGURE 3.1].


TABLE 3.1. Rates and hazard ratios of the primary safety endpoint in ROCKET AF at centers with better-
managed warfarin. Source: FDA Briefing Document 2011, Table 59, p. 158. Center TTRs based on patient
averages (Connolly 2008).




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FIGURE 3.1. Hazard ratio for primary efficacy endpoint as a function of center TTR, per protocol on
treatment population. Source: FDA Briefing Document 2011 page 98.

Rivaroxaban did not meet the non-inferiority margin when considering better-managed warfarin (TTR ≥
65) and a last dose plus 30 data scope (HR 1.10, 95% CI 0.75 – 1.64). The prescribing information for the
drug (“product label”) acknowledges


        There are limited data on the relative effectiveness of XARELTO and warfarin in reducing
        the risk of stroke and systemic embolism when warfarin therapy is well-controlled
        (Janssen Pharmaceuticals 2011, 2015).


3.3 STROKE TYPE

Anticoagulation decreases the risk of ischemic stroke and non-CNS systemic embolism, does not prevent
and in fact causes hemorrhagic strokes. However, hemorrhagic strokes are “double-counted” as both an
efficacy endpoint and safety endpoint in ROCKET AF reports. This is not justifiable from a pathogenic
perspective. It is also not justified from a statistical perspective when benefit-risk comparisons are
made.




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A case can be made that it is often difficult to distinguish hemorrhagic transformations of ischemic
strokes from truly hemorrhagic strokes. It is therefore reasonable to consider analyses that include and
exclude hemorrhagic strokes from efficacy endpoints.


TABLE 3.2 shows intention-to-treat analyses for each type of stroke and systemic embolism. There are
no significant difference in the rates for the thrombotic endpoints. A composite consisting of primary
ischemic stroke, unknown type of stroke, and systemic embolism reveals no difference in rates (HR =
0.97, 95% CI, 0.82 – 1.16). There were 20 fewer hemorrhagic strokes in the RIVA group than in the WARF
group (P = 0.041). Note that these results include all clinical centers regardless of how well warfarin was
used. [We do not have data for thrombotic events by TTR quartiles.] Section 4.3 discusses how the
discrepancy in hemorrhagic strokes comes in large part from the excess of warfarin-associated
hemorrhagic strokes in East Asia.


TABLE 3.2. Efficacy endpoints, ITT analyses. Rates are per 100 person-years (PY). Data: Sponsor slide FE-
024, FDA Advisory Committee 2011 Presentation.
                             RIVA                 WARF
                             N = 7081             N = 7090
                             13,318 PY  (a)
                                                  13,333 PY(a)
                             Events (Rate)        Events (Rate)      RR (95% CI) (b)           P value(b)
Thrombotic endpoints
 Primary ischemic stroke     226 (1.69)           220 (1.64)         1.03 (0.85-1.24)          0.783
 Unknown type stroke         20 (0.15)            20 (0.15)          1.00 (0.54-1.86)          1.000
 Systemic embolism           20 (0.15)            27 (0.20)          0.74 (0.42-1.32)          0.309
 Composite of above          256 (1.92)           263 (1.97)         0.97 (0.82-1.16)          0.800

Hemorrhagic stroke
 1° hemorrhagic stroke        37 (0.27)            57 (0.42)          0.65 (0.43-0.98)           0.041

Composite—thrombotic endpoints plus hemorrhagic stroke
  1° efficacy endpoint         293 (2.20)         320 (2.40)            0.91 (0.78–1.07)       0.263
(a)
    Person-years = no. events / rate. Fisher’s exact statistics calculated with WinPEPI (Abramson 2011).
                                     (b)




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3.4 SECTION SUMMARY POINTS
1. Whether we are reasonably convinced of rivaroxaban’s non-inferiority in preventing strokes
   depends on which analysis we wish to consider.
2. Rivaroxaban did not meet the non-inferiority margin when considering better managed warfarin
   clinics and a “last dose plus 30-day data scope” (HR 1.10, 95% CI 0.75 – 1.64).
3. The prescribing information (“product label”) for rivaroxaban acknowledges that “There are limited
   data on the relative effectiveness of XARELTO and warfarin in reducing the risk of stroke and
   systemic embolism when warfarin therapy is well-controlled” (Janssen Pharmaceuticals 2011, 2015).
4. Hemorrhagic strokes should be excluded from the efficacy endpoint especially when considering
   risk-benefit comparisons.




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4 SAFETY

4.1 PRINCIPAL SAFETY ENDPOINT

The principal safety objective of this study was to demonstrate that rivaroxaban was superior to dose-
adjusted warfarin (Rivaroxaban: Clinical Study Report 2010, p. 33). The primary safety endpoint
consisted of major and non-major clinically relevant bleeding events. Note that bleeding outcomes are
likely to be affected by the unreliable INR values used to adjust warfarin dose in the trial (§5).


Major bleeding was defined as either a fall in hemoglobin of 2 g/dl, transfusion of 2 or more units of
packed red blood cells or whole blood, bleeding into a critical site (intracranial, intraspinal, intraocular,
pericardial, intra-articular, intramuscular with compartment syndrome, retroperitoneal), or fatal
bleeding. Non-major clinically relevant bleeding was defined as bleeding that did not meet the major
bleeding criteria but was associated with medical intervention, unscheduled contact with a physician,
cessation of treatment at the instruction of a physician, pain, or impairment of activities of daily life.
Secondary analyses looked at individual types of bleeding endpoints. Addition information about the
ascertainment of cases is described in the document referred to as the Clinical Endpoint Committee
Charter (Clinical Endpoint Committee ROCKET-AF 2010).


Rates of safety endpoints per 100 person-years (PY). Statistics in this section are “last dose + 2 days”
unless otherwise noted.


4.2 WORLDWIDE SAFETY RESULTS

TABLE 4.1 list the number of cases and rates of the primary safety endpoint for all investigation sites
worldwide. The primary safety endpoint occurred more frequently in the RIVA group than in the WARF
group (HR 1.03, 95% CI 0.96 – 1.11). Thus, the principal safety objective of the study was not achieved.


TABLE 4.1 also lists results for major bleeding separately. Here, too, the rate was slightly higher with
RIVA than with WARF (HR 1.04, 95% CI 0.90 – 1.12).




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TABLE 4.1. Rates of primary safety endpoints. Source: Rivaroxaban: Clinical Study Report 2010 p. 196.
Endpoint                          RIVA                 WARF                  HR (95% CI)       P val
                                  Cases (rate per      Cases (rate per
                                  100 PY)              100 PY)
Primary safety endpoint           1475 (14.9)          1449 (14.5)           1.03 (0.96–1.11) 0.442
Major bleeding                    395 (3.6)            386 (3.4)             1.04 (0.90–1.12) 0.576
Non-major clinically relevant     1185 (11.8)          1151 (11.4)           1.04 (0.96–1.13) 0.345


The sponsor’s Clinical Study Report (2010) also provides rates of specific types of major bleeding [TABLE
4.2]. Data favor WARF for the first two endpoints (hemoglobin drop, need for transfusion), and favor
RIVA for the last two (critical organ bleed, death).


TABLE 4.2. Types of major bleeding, entire study ROCKET study population (Rivaroxaban: Clinical Study
Report 2010 p. 196).
Endpoint                      RIVA                 WARF                HR (95% CI)        P-value
                              cases (rate per      Cases (rate per
                              100 PY)              100 PY)
Hemoglobin drop ≥ 2 g/dl      305 (2.77)           254 (2.26)          1.22 (1.03–1.44) 0.019
Transfusion                   183 (1.65)           149 (1.32)          1.25 (1.01–1.55) 0.044
Critical organ bleed          91 (0.82)            133 (1.18)          0.69 (0.53–0.91) 0.007
Death                         27 (0.24)            55 (0.48)           0.50 (0.31–0.79) 0.003


TABLE 4.3 displays the distribution of critical organ bleeds. Note that hemorrhage stroke
(intraparenchymal and intraventricular) are considered to be a type of intracranial hemorrhage. The
lower rate of intracranial hemorrhages is in large part explained by what was seen in the East Asia
region, as discussed in the next section of this report.


TABLE 4.3. Number of critical organ bleeding events. Source: FDA Briefing Document 2011, p. 191 – 192.
                                                           RIVA                       WARF
Intracranial bleeding
   Hemorrhagic stroke
       Intraparenchymal                                    37                         56
       Intraventricular                                    2                          4
   Intra-cranial hematoma
      Subdural or subarachnoid                             16                         23
      Epidural                                             0                          1
Extra-cranial bleeding                                     36                         49
Total events                                               91                         133




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4.3 EAST ASIA SAFETY DATA
Although East Asia enrolled only 6.5% of the subjects in ROCKET AF, it contributed 15.1% of the
intracranial hemorrhage (ICH) cases (Wong 2014). The East Asia region also had the 2nd lowest mean TTR
(52 percent) and much more lax follow-up compared to North America and Western Europe. In North
America and Western Europe, follow-up clinic care occurred within an average of one week when INRs
exceeded 4. In contrast, the follow-up clinic visit in East Asia was more than 3 weeks when INRs
exceeded 4 (Singer 2013). The East Asian study subjects in ROCKET AF had an extremely high prevalence
(65 percent) of prior stroke and non-CNS systemic embolism (Wong 2014). Previous stroke and Asian
race are major risk factors for ICH (Hart 2012; Shen 2007).


Wong and colleagues (2014) provide interesting secondary analyses of differences in the occurrence of
stroke in East Asian patients from the ROCKET AF trial. TABLE 4.3A lists the rates and rate ratios of
intracranial hemorrhage by region in ROCKET AF. The rate of ICH in East Asian warfarin users was 4-
times that of the other regions (2.46 vs. 0.63 per 100 PY). It was also 4-times than that of the RIVA users
in the region (2.46 vs. 0.59 per 100 PY). The HR for intracranial hemorrhage was significant in East Asia
(RR 0.24, 95% CI 0.06 – 0.74), but not in other regions (RR 0.78, 95% CI 0.53 – 1.14). This interaction is
significant (Pheterogeneity = .029, I2 = 75.4%, H = 2.0). c


The same pattern is seen with critical organ bleeds (Pheterogeneity = .043), fatal strokes (Pheterogeneity = .067),
and to a lesser degree fatal bleeding (Pheterogeneity = .168). d In regions outside of East Asia, there was no
significant difference in the rates of intracranial bleeding (HR 0.78, 95% CI 0.53 – 1.14) or critical organ
bleeding (HR 0.76, 95% CI 0.52 – 1.01). Thus, inclusion of this relatively small group of patients from East
Asia can lead us to believe that intracranial hemorrhage rates and critical organ bleeding were
significantly less frequent with rivaroxaban in other regions, when in fact they were not.




c
 Heterogeneity P values based on maximum-likelihood method using data in Wong 2014 Figure 2. Interaction
statistics in Wong 2014 were based on the Mantel-Haenszel method.

d
    Heterogeneity statistical based on maximum likelihood method using data Wong 2014 Figure 1 and Figure 2.




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TABLE 4.3A. Intracranial hemorrhage, East Asia vs. the rest of ROCKET AF. Source Wong 2014 Figure 2.
                           RIVA                                WARF               Rate Ratio
             Events per 100 PY PY               Events      per 100 PY PY         (95% CI, Fisher’s)
East Asia    4        0.59        678           17          2.46         691      0.24 (0.06 – 0.74)

Rest of           51       0.49        10408     67            0.63        10635      0.78 (0.53 – 1.14)
ROCKET AF
Pheterogeneity = .029 (maximum likelihood)



TABLE 4.3B. Critical organ hemorrhage, East Asia vs rest of ROCKET AF. Data: Wong 2014.
                           RIVA                               WARF                 Rate Ratio
             Events / 100 PY      PY         Events          / 100 PY    PY        (95% CI, Fisher’s)
East Asia    5          0.73      678        1               2.61        691       0.28 (0.08 – 0.79)

Rest of            86      0.82        10408   115             1.08        10635       0.76 (0.52 – 1.01)
ROCKET AF
Pheterogeneity = .043 (maximum likelihood)

The authors acknowledge limitations of secondary analysis these secondary analysis in terms of limited
power for sub-analysis, the fact that not all countries in the East Asian region were represented in their
data, and possible ecological fallacies concerning ethnicity as opposed to the geographic area as a whole
(Wong 2014). In addition, the limitations of exploratory analyses must be acknowledged. Nonetheless,
this article provide important insights into tbe cultural and medical practices that explain some of
ROCKET’s results.



4.4 SAFETY RESULTS AND TTR

TABLE 4.5 and TABLE 4.6 list rates of the principal safety endpoint and major bleeding, respectively, by
center TTR. It is worth noting that the company and FDA analyses of TTR quartiles differed slightly. This
is because of differences in the way quartiles were calculated (i.e., based on the number of centers or
number of patients) and different types of imputation methods. Calculation differences, however, are
minor and do not materially affect the interpretation of results. It is also worth keeping in mind that the
TTR quartiles presented here are subject to faulty reading from the point-of-care devices in the trial as
discussed in §5.




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TABLE 4.5 reveals inferior safety for the primary safety endpoint with rivaroxaban when warfarin is
better managed, i.e., centers in the top TTR quartile demonstrate an HR of 1.23 (95% CI 1.08 – 1.40) in
favor of warfarin. A similar pattern is seen for the major bleeding endpoint in In TABLE 4.6 where the is
1.47 (95% CI 1.14 – 1.89) in the top quartile.


TABLE 4.5. Principal safety endpoint (on treatment +2 days according to center TTR (imputed). Source:
Rivaroxaban: Clinical Study Report (2010), p. 228.




TABLE 4.6. Rates of major bleeding by TTR quartile globally. Source: FDA Briefing Document 2011 p. 232.
Quartile (TTR)          RIVA                           WARF                           HR (95% CI)
                        Events (rate per 100 PY)       Events (rate per 100 PY)
Q1 (≤ 47)               64 (2.5)                       80 (3.3)                       0.76 (0.55 – 1.06)
Q2 (47 – 56)            88 (3.4)                       96 (3.5)                       0.95 (0.71 – 1.27)
Q3 (56 – 64)            90 (3.3)                       99 (3.4)                       0.95 (0.72 – 1.27)
Q4 (≥ 64)               142 (5.2)                      108 (3.5)                      1.47 (1.14 – 1.89)
There is a paradoxical increase in major bleeding rates by quartile in the RIVA group and no change in rates in the
WARF group. Possible reasons for this finding include confounding by regional and patient factors such aspirin use,
host susceptibility, and differential detection / diagnostic suspicion bias).

No source that lists rates of specific types of bleeds according to TTR quartiles. However, data for the
US, where warfarin was better managed than in other regions (mean TTR 64%), is available and is
addressed in the next section.




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4.5 UNITED STATES SAFETY DATA
The use of warfarin was significantly better in the North American region compared to many of the
other regions in the study (TABLE 2.5; mean TTR US ~65%, mean TTR overall 55%). Yet, North America
included less than 20% of the ROCKET data. It is possible that findings from some of the other regions in
ROCKET AF may not to apply to the United States.TABLE 4.7 lists safety results for the US. The primary
safety endpoint and major bleeding occurred significantly more frequently with rivaroxaban than
warfarin here. There was no significant difference in the number of critical organ bleeds and death.


TABLE 4.7. Rates of bleeding, per protocol “+2 days”. Source: FDA Briefing Document 2011 p. 194.
Endpoint                       RIVA N = 962             WARF (N = 964)           HR                                 P val
                               cases (rate per 100 PY) Cases (rate per 100 PY)
Safety endpoint                322 (25.2)               275 (19.5)               1.28 (1.09-1.50)                   .003
Major bleed                    123 (8.1)                87 (5.4)                 1.50 (1.14-1.98)                   .004
Hemoglobin drop ≥ 2 g/dl       99 (6.4)                 64 (3.9)                 1.64 (1.19-2.24)                   .002
Transfusion                    72 (4.6)                 47 (2.9)                 1.61 (1.12-2.33)                   .011
Critical organ bleed           18 (1.1)                 22 (1.3)                 0.85 (0.46-1.59)                   .614
Death                          6 (0.4)                  10 (0.6)                 0.63 (0.23-1.72)                   .365

The safety disadvantages of rivaroxaban are even more compelling when considering US clinics where
warfarin was better managed. TABLE 4.8 lists rates of major bleeding by TTR quartiles. Rivaroxaban
demonstrates worse safety at all the TTR levels and was twice as risky as warfarin in the upper two
quartiles.


TABLE 4.8. Rates of major bleeding by TTR quartile. Source: FDA Briefing Document 2011 p. 232.
Quartile (TTR)          RIVA                           WARF                         HR (95% CI)
                        Events (rate per 100 PY)       Events (rate per 100 PY)
Q1 (≤ 57)               26 (7.6)                       25 (7.2)                     1.07 (0.62 – 1.85)
Q2 (57 – 65)            29 (7.6)                       25 (6.4)                     1.19 (0.70 – 2.03)
Q3 (65 – 70)            34 (9.0)                       21 (4.7)                     1.93 (1.12 – 3.33)
Q4 (≥ 70)               28 (8.0)                       16 (3.6)                     2.35 (1.20 – 4.10)
All                     123 (8.1)                      87 (5.4)                     1.50 (1.14 – 1.98)
Notes:
(a) The 3rd TTR quartile in the U.S. corresponds to the 4th quartile globally.
(b) Rates of major bleeding decrease in each successive TTR for warfarin but not for RIVA groups, as expected.
(c) Rates of major bleeding in the United States are higher overall than they were in other regions. A number of
factors are likely to contribute to this occurrence, including more sensitive detection of bleeding in the US and
differences in patient characteristics—see p. 230 of the FDA Briefing Document 2011 for further consideration.




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4.6 SECTION SUMMARY POINTS
1. The primary safety objective of ROCKET was to find rivaroxaban superior to warfarin in safety. The
    primary safety endpoint (major bleeding and clinically relevant non-major bleeding) occurred more
    frequently with rivaroxaban than with warfarin (HR 1.03, 95% CI 0.96 – 1.11). Therefore, rivaroxaban
    did not meet the primary safety objective of the study.
2. Among clinics with better managed warfarin (TTR ≥ 65), rivaroxaban was significantly less safe than
    warfarin, where the HR for the pre-specified primary safety endpoint was 1.23 (95% CI 1.08 – 1.40).
3. Major bleeding occurred more frequently with rivaroxaban than with warfarin (HR 1.04, 95% CI 0.90
    – 1.12). Among clinical centers with better managed warfarin, major bleeding occurred significantly
    more frequently with rivaroxaban than with warfarin (HR 1.47, 95% CI 1.14 – 1.89).
4. Critical organ bleeding (primarily in the form of intracranial hemorrhage) occurred significantly less
    frequently with rivaroxaban than with warfarin (HR 0.69, 95% CI 0.53 – 0.91). This difference is
    chiefly explained by the high frequency of intracranial hemorrhage among East Asian warfarin users
    (Pheterogeneity = .029). In regions outside of East Asia, there was no significant difference between
    rivaroxaban and warfarin for intracranial bleeding (RR 0.78, 95% CI 0.53 – 1.14) and critical organ
    bleeding (RR 0.76, 95% CI 0.52 – 1.01).
5. In the United States, rivaroxaban was significantly less safe than warfarin. The HR for the primary
    safety endpoint was 1.28 (95% CI 1.09 – 1.50). The HR for major bleeding was 1.50 (95% CI 1.14 –
    1.98). At the US clinics with better-managed warfarin (TTR ≥ 65), major bleeding occurred at twice
    the rate with rivaroxaban compared to warfarin (e.g., Quartile 3 TTR HR 1.93, 95% CI 1.12 – 3.33).
    There was no significant difference in critical organ bleeds, intracranial hemorrhage, or fatal bleeds
    between rivaroxaban and warfarin in US centers.
6. Rivaroxaban is less safe than warfarin when warfarin is well managed.




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5 INR MONITORING IN ROCKET AF

5.1 HISTORY OF PROBLEMS WITH THE INRATIO® POINT-OF-CARE DEVICE

INR measurements must be highly accurate for clinicians to make appropriate decisions about warfarin
dosing. Both erroneously high and erroneously low test results have the potential to cause or contribute
to a death or serious injury because they may result in erroneous warfarin dosing and improper control
of coagulation (FDA 2005). Falsely low INR readings will steer patients toward hypertherapeutic warfarin
levels, resulting in unnecessary elevations in the risk of bleeding. Falsely high readings are apt to steer
patients toward hypotherapeutic warfarin levels with elevated risks of thromboembolic events (ischemic
stroke and systemic thromboembolism). Variably high and low INR measurements can lead to a “ping-
pong” effect, with failure to achieve stabile warfarin dosing leading to frustration, lack of compliance,
and all sorts of problems.


The ROCKET AF trial used the hand-held Hemosense® INRatio® point-of-care (POC) coagulometers to
monitor INRs in its participants at all its clinical sites (J & J 2010). This device was modified for use in the
trial by its manufacturer to report a 7-digit code corresponding to either a sham INR or real INR value,
depending on whether the study subject was in the active or control arm of the trial. Based on this
information, patients’ (real or sham) warfarin dose was adjusted by the clinical investigator according to
their usual practices to achieve a target INR of 2.5.


In December of 2014, about 3 years after the approval of rivaroxaban for the SPAF indication, the FDA
recalled the INRatio® device citing instances in which INRs from the device were lower than readings
from laboratory devices taken about the same time. Patients had experienced significant bleeding
episodes as a result of warfarin over-anticoagulation due to falsely low INR readings. This was not the
first time FDA had officially notified the manufacturer of this problem with the device. Nine years
earlier, in October of 2005, the FDA San Francisco District Director (Barbara J. Lassens) sent a warning
letter to the CEO of the manufacturer of the device indicating that INRatio devices were generating
erroneously low INR values resulting in hospitalizations in which the hospital labs found significantly
higher INR values than those reported by the INRatio® (FDA 2005). The letter from the FDA also




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documents malfunctions attributed to the device that were likely to cause or contribute to a serious
injury in patients.


In July of 2016, the device was voluntarily withdrawn from the market (FDA 2016).


5.2 THE SPONSOR’S INITIAL RESPONSE TO THE DECEMBER 2014 FDA RECALL OF THE INRATIO®

The INRatio® device was approved by FDA in 2002 under a 510k as a “Clinical Laboratory Improvement
Amendment waived device.” On Dec 5, 2014, the FDA issued a Class I recall of the device noting that
“the INRatio® Monitor System (INRatio Monitor or INRatio2 Monitor and INRatio Test Strips) may
provide an INR result that is lower than expected result obtained using a laboratory INR method.” (FDA
2014). The sponsors’ initial response to the Dec 2014 FDA recall was to re-analyze the ROCKET data
separately for patients with and without “recall related time” (Janssen Research & Development 2016b;
Patel 2016b). This response was without value because it was based on the false premise that
unreliability was restricted to specific conditions (i.e., abnormally low hematocrits, raised fibrinogen
levels, and bleeding or bruising). However, this was a misinterpretation of what the FDA actually stated
in its Dec 2014 recall, as replicated here:




                      Screenshot of section from FDA Dec 2014 class I recall of the INRatio device.

It is clear from this statement that the problem was not restricted to the stated medical conditions. “Can
also occur if a patient has certain medical conditions” does not mean “only occurs if a patient has certain
medical conditions.” This should have been obvious to the sponsor when their statisticians found no
difference in the accuracy/inaccuracy of the INRatio device’s readings in patients with and without the
so-call recall-related conditions, as shown in FIGURE 5.1 (Janssen Research & Development (James Pan)
2015). In any event, the sponsors’ responses (Janssen Research & Development 2016b) which were
ultimately published in the February 25, 2016 edition of the NEJM (Patel 2016b) were worthless.




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FIGURE 5.1. Differences between INRatio® INRs from warfarinized patients in ROCKET AF compared to INRs derived by the Duke
Medical clinical lab, week 24. Differences in the two methods of determining INRs in patients impacted and non-impacted by the
recall-related conditions listed in the FDA December 2014 recall of the INRatio device. Source: JRDUS 2015
XARELTO_JANSSEN_15522174.




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5.3 ACCURACY OF INRATIO® COAGULOMETER (SUMMARY)
Because of aforementioned problems with the INRatio®, I embarked on a review of available research
concerning the device’s accuracy. A separate Appendix Report with the title Accuracy and Precision of
the INRatio® Point-of-Care Coagulometer is included in this submission. The objective of the Appendix
Report is two-fold: (1) to clarify methods used to quantify coagulometer accuracy and (2) to review the
research on the INRatio’s accuracy. This Appendix Report is too long and detailed to include in the body
of this report. Therefore, only a summary of the report is included here.


                           Please refer to the full Appendix Report for details.


One thing to keep in mind as you review the Appendix Report is that the accuracy of a coagulometer
cannot be assumed. It must therefore be thoroughly tested. However, the INRatio® device was not
adequately tested before it was adopted for use in the ROCKET trial (Bluestein 2007; Engelsen 2005;
HemoSense Inc. 2005, 2006; Taborski 2004). In addition, its performance was not systematically
evaluated under prevailing conditions, as it should have been (Bhavnani 2002; Bluestein 2007; Streiff
2016).


After ROCKET AF was initiated, but 6 months before the ROCKET AF Helpline & Hemosense Update
presentation (Piccini 2007), the article by Moore and colleagues (2007) should have further alerted
ROCKET investigators about the questionable accuracy of the INRatio® device. Research that has since
been published has confirmed that the INRatio® device is less precise (intra-device coefficient of
variation) and not as reliable as comparable devices (§4 and §5 of Appendix Report).


Same-day (paired) INRs from week 12 and week 24 follow-up visits in ROCKET-AF demonstrated poor
agreement between INRs from field devices and the Duke Medical Center central laboratory (§6 of the
Appendix Report). INR values from the ROCKET AF POC devices (INRPOC) were 0.5 units lower on average
than the paired INRs of plasma samples as determined by the reference lab (INRLAB). Agreement of the
paired samples failed to meet the lax ISO 17953 thresholds and criteria. In addition, a third (33%) of the
clearly hypertherapeutic samples (INRLAB > 4) were misidentified as hypotherapeutic or
normotherapeutic by the POC device (INRPOC ≤ 3). More than 1-in-16 hypertherapeutic samples (INRLAB >
4) where misidentified as hypotherapeutic (INRPOC < 2). These clinically meaningful differences represent



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situations in which hypertherapeutic patients were likely to have had their warfarin doses maintained or
supplemented, putting the patient at greatly elevated risks of bleeding, and making the rivaroxaban arm
of the trial look relatively safe by comparison.


In a December 10, 2015 letter to the FDA Commissioner, the consumer advocacy group Public Citizen
questioned the choice of the INRatio® POC coagulometer for use in the ROCKET AF trial (Wolfe 2015).
This letter cites 1445 adverse event reports, 9469 malfunction reports, and 652 malfunction reports
likely to cause or contribute to a death or serious health problems for the device that were reported to
the FDA’s Manufacturer and User Facility Device Experience (MAUDE) surveillance system. Many of
these reports were sent to the FDA before the ROCKET AF study was initiated. In fact, the FDA had
warned the manufacturer of malfunctions and reliability problems that may have caused or contributed
to a death or serious injury in an October 2005 letter notice to the president and CEO of the company
(FDA 2005). The Public Citizen letter also includes a case series of serious bleeding events attributable to
discrepant low INR readings from the INRatio® device. URLs for each case is provided in the Public
Citizen letter. This pharmacovigilance surveillance data strongly suggests that the reliability problems of
the INRatio® device were ongoing.


According to Janssen’s February 5, 2016 Response to FDA, the reasons for choosing the INRatio® POC
coagulometer as opposed to a different POC device in the ROCKET AF trial was because of its


    •   FDA 510(k) clearance, CE marked status, and CLIA waiver.
    •   Operational requirements, such as portability, hand held, battery operated, auto-calibrating,
        with an attached printer (for inclusion in medical records), ability to overlay the shamming
        algorithm needed for blinding in the trial, and no requirement for refrigeration of the reagent
        (Janssen Research & Development 2016d).


The INRatio® device had received premarket notification of a 510(k) approval from the FDA on May 6,
2002 (FDA 2002). The only performance data that was in the premarketing notification stated:


        The accuracy of the INRatio was compared to the CoaguChek S with a reference method
        in field studies and found to be equivalent (r > 0.90). Precision and linearity evaluations
        were performed on the INRatio and the results were found acceptable. Addition testing



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        on interfering substance, and hematocrit were performed and the results are reflected in
        product labeling.


In addition, the data in INRatio® Technical Bulletin 106 (HemoSense Inc. 2005) might have been included
in the 510(k) application. Technical Bulletin 106 is reviewed in the Appendix Report §3, where I found it
to provide scant quantitative support for the clinical acceptability of the device.


Reliance on the 510(k) approval process as evidence of accuracy is injudicious. The FDA website
Overview of IVD [In Vitro Diagnostic products] Regulation confirms that “few performance standards on
which to ensure that regulatory decisions are based on clearly defined scientific parameters” (FDA
2015). When I worked for the FDA Centers for Drug Evaluation and Research (1985 – 1990) the FDA
510(k) process was regarded as providing scant evidence of device safety and efficacy. This evidently is
still the case (Rathi 2016).


While it is reasonable to consider the operational requirements in a trial, these requirements should not
take priority if they are going to affect the integrity of the trial. Given the resources devoted to ROCKET
AF, it seems like more attention could have been paid to testing the reliability of the INRatio®
instrument before it was adopted and adapted for use. It also seems like some of the operational
requirements had engineering and/or operational solutions that could have made other POC
coagulometers suitable for use. For example, establishing a cold chain is not an impossible task,
especially since we are considering delivery to established clinical research centers (which is clearly not
the same as delivering labile vaccine to primitive locales).


In summary, the INRatio® device was not independently evaluated before it was adopted and adapted
for use in the ROCKET AF trial. In addition, the devices were not adequately periodically reevaluated in
the field under prevailing conditions. When it was systematically evaluated, four years after the
completion of the trial, clinically meaningful inaccuracies were frequent and likely to cause over-
anticoagulation of subjects in the warfarin arm of the trial, increasing bleeding rates and skewing the
safety results in favor of rivaroxaban.




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5.4 SENSITIVITY ANALYSIS: POTENTIAL EFFECTS OF INR INACCURACIES
Sensitivity analysis is used in epidemiology to determine the robustness of an assessment by examining
the extent to which results are affected by changes in methods, models, values of unmeasured
variables, or assumptions (Porta 2008). There is no single way to conduct a sensitivity analysis, and
several approaches may be tried. However, it is important to realize that sensitivity analysis is not a
substitute for large scale outcome-based trials.


5.4.1   Sensitivity analysis #1

On May 27, 2016 Janssen Research received an Information Request from the FDA for “analyses sharing
some features of the “attributable risk” analysis performed for EMA” (Janssen Research & Development
2016e). This FDA inquiry requested


        a modified hazard ratio (HR), along with the 95% CI, should be calculated using the
        modified warfarin arm rate and the observed rivaroxaban arm rate. These should be
        presented alongside the actual observed HR or RR and CI for each endpoint.


In response, Janssen provided the FDA with four different analyses. Analysis 4, which adjusted for INRs
before or on the day of event of censoring, seems to be based on the most meaningful assumptions
among the four analyses provided. The others analyses offered by Janssen are less likely to be
informative because they addressed INR values that were based on readings remote from endpoint
events. TABLE 5.1 replicates tables provided by the company for “Analysis 4.”




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TABLE 5.1. Sponsor’s “Analysis 4” (Source Janssen June 23, 2016 response p. 53).




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Let us focus on the modified HRs for major bleeding from this analysis. Depending on which
assumptions are accepted, the initial HR of 1.04 in ROCKET AF is now shown as 1.17, 1.12, or 1.09. Recall
that the mean difference between the INRatio® device derived INRs and Duke Lab INRs was 0.5 and
median difference was 0.3. The bottom table in TABLE 5.1 (median diff = 0.2) is based on a set of
assumptions that predict that freezing would inflate the reference laboratory INRs by 5%--an
assumption that I believe is unwarranted (see §6.3 in the Appendix Report). This puts the adjusted HR
somewhere between 1.12 and 1.17.


Note that, despite FDA’s request, no confidence intervals are reported with the HRs for the sensitivity
analyses. This was done, according to the sponsor (June 23, 2016), “In recognition of the relative
unreliability of these exploratory methods, and the consequent compounded unreliability of the
confidence intervals that would be based on those analyses, the confidence intervals were not
performed.” Nevertheless, this leaves us with some questions about the modified HR estimate of 1.17
and 1.12.


Page 54 of the Janssen June 23, 2016 response (XARELTO_JANSSEN_24277174) is a title page that states
“Parameter estimates for FDA: last POC INR before or on events.” However, two pages hence lists the
output shown in FIGURE 5.1. The line that says “POC INR Last value” provides a HR of 1.263 (not 1.17 or
1.12) and the title to the table says “INR mean value,” not “INR before or one event” as expected. I
would like to see the correct computer output for Analysis 4.




FIGURE 5.1. Screenshot from XARELTO_JANSSEN_ 24277216 showing mistakes in labels.




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5.4.2   Sensitivity analysis #2

An additional sensitivity analysis is pursued here. These additional sensitivity calculations adjust
bleeding rates in ROCKET’s warfarin group using (a) misclassification rates from Table S5 in Patel (2016a)
and (b) relative risks for INRs based on van der Meer (1996). An indirect method of standardization is
applied to the observed number of warfarin-associated cases to derive expected numbers of cases and
adjusted rate ratios.


First, note that the hazard ratios (HR) from the Cox regression model in ROCKET AF and unadjusted rate
ratios (RR) from the same source are interchangeable. TABLE 5.2 presents event rates and person-year
[PY] counts from ROCKET AF for the primary safety endpoint and for major bleeding. The HR for major
bleeding reported in ROCKET AF is 1.04 (95% CI, 0.90 – 1.20) (J & J 2010). By simply using the case counts
and PY in TABLE 5.2, the unadjusted RR is also 1.04 and the 95% CI by Fisher’s exact method is (0.905 -
1.201). [Similar results can be shown for the primary safety endpoint]. Therefore we use unadjusted RRs
in lieu of HRs for our sensitivity analyses.


TABLE 5.2. Rates and person-years (PY) for the principal safety endpoint and major bleeding. (Source:
Rivaroxaban Clinical Study Report p. 196). * Person-years calculated as PY = (no. of cases) / rate.
Endpoint                   RIVA cases RIVA rate       RIVA PY*     WARF           WARF rate WARF PY*
                                        per 100 PY                 cases          per 100 PY
Primary safety endpoint 1475            14.91         9893         1449           14.52          9979
Major bleeding             395          3.60          10972        386            3.45           11188


Second, the Leiden hematology group estimated that for every increase of one unit of INR above the
therapeutic range, the bleeding risk increases by 42 percent (van der Meer 1996). This is a conservative
estimate.


Third, TABLE 5.3 lists the proportion of samples from ROCKET AF that were off by one INR category, two
INR categories, and three or more categories (1-unit categories). By referring to the bottom part of
Table S5 in NEJM 2016;375:390, you can see how the percentages in column 2 were derived.)




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TABLE 5.3. Proportion in agreement according to one-unit INR categories, week 24, in Table S5 in NEJM
2016;375:390.
Off by             % of samples underestimating by this amount Net (%)            RR(3)
                   MINUS % overestimating
same category (1)
                   17.8 + 32.5 + 6.7 + 4.1                        61.1            1.00
1 category(2)          10.1 + 14.6 + 5.0 – 1.8 – 0.7 – 0.5                      26.7              1.421
2 categories           1.1 + 3.6 – 0.2 – 0.3                                    4.2               1.422 = 2.02
3+ categories          0.9 – 0.2                                                0.7               1.423 = 2.86
(1)
    Same 1-unit INR category assumes “no difference” for the sake of this model.
(2)
    Off by one 1-unit category in a positive direction (+) or negative direction (–).
(3)
    Based on van der Meer 1996


The next step of the sensitivity analysis involves noting that the observed risk of an event in a population
is a weighted average of its risks in subpopulations (same premise as indirect standardization of rates).
Let:
       •   R represent the observed risk in the population as a whole,
       •   RRi represent the risk ratio in subgroup i,
       •   pi represent the proportion of the population in subgroup i, and
       •   aR represent the adjusted risk.


Thus, the overall rate R = ∑ 𝑅𝑅𝑅𝑅𝑖𝑖 ∙ 𝑝𝑝𝑖𝑖 ∙ 𝑎𝑎𝑎𝑎 [Equation 1].


Another way to look at Equation 1 is:


𝑅𝑅 = ∑ 𝑤𝑤𝑖𝑖 ∙ 𝑎𝑎𝑎𝑎 where 𝑤𝑤𝑖𝑖 = 𝑅𝑅𝑅𝑅𝑖𝑖 ∙ 𝑝𝑝𝑖𝑖 [Equation 2]

                           1                                   1
Solving for aR, 𝑎𝑎𝑎𝑎 = ∑        ∙ 𝑅𝑅   [Equation 4], where ∑        is the “adjustment factor.”
                           𝑤𝑤𝑖𝑖                                𝑤𝑤𝑖𝑖



We can substitute “rate ratios” for “risk ratio.” For rare events, these two effect measures are
interchangable.


Using this method, the adjustment factor for over-anticoagulation due to inaccuracies in the INRatio®
                                         1
POC devices in ROCKET AF is                 .
                                       1.095




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For example, the expected number of major bleeds in the warfarin arm of the trial (without INR
                          1
misclassifications) =         ∙ 386 = 352.5. The expected rate of major bleeding in the warfarin arm =
                        1.095
  1     352.5
     ∙           = 3.15 per 100 PY. The adjusted RR is 1.14, which is remarkably consistent with Janssen’s
1.095 11188 𝑃𝑃𝑃𝑃

“Analyses 4” results. TABLE 5.3 summarizes the results for sensitivity analysis #2 for major bleeding and
the primary safety endpoint.


TABLE 5.3. Sensitivity analysis #2. All rates are per 100 person-years.
Endpoint       ROCKET AF        ROCKET         ROCKET              Adjusted Adjusted
               Rivaroxaban Warfarin            HR (95% CI)         Warfarin Rate Ratio (95% CI)
               Rate             Rate                               Rate
Major bleed 3.60                3.45           1.04 (0.90 – 1.20) 3.15      1.14 (0.99 – 1.33)
1° safety      14.91            14.52          1.03 (0.96 – 1.11) 13.26     1.13 (1.04 – 1.21)
Calculation notes:
Expected number of cases = adjustment factor × observed number of cases.
Adjusted rate = expected number of cases / PY
95% confidence limits based on observed number of cases and person-years in RIVA group and
expected number of cases and observed person-years in the WARF group, and Fisher’s exact limits.


The modeling assumptions in sensitivity analysis #1 were not clearly described in the source documents
from the sponsor. The assumptions for sensitivity analysis #2 detailed, but this is still not an easy model
to understand. Briefly, the model is based on assumed misclassification rates and expected relative risks,
both of which have been intentionally underestimated to encourage a bias toward the null. For example,
POC misclassification rates in this model do not consider misclassifications beyond 2 INR units, which are
known to occur. In addition, the relative risk estimates from the original source have been “smoothed”
and do not account for sources of variation (systematic and random) in the estimates. All models involve
simplifying assumptions, however, and a model does not have to be perfectly accurate to still be useful.
The model is not a substitute for large scale, endpoint based observation. The point of the model is to
see if the data are consistent with a bias in favor of rivaroxaban in comparisons of bleeding, which it
clearly is.




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5.4.3   Sensitivity analysis #3

A direct method of gaining insight into the effect of POC inaccuracies on bleeding rates is possible by
explore event rates by concordance of the POC and reference laboratory values. Event rates by broad
agreement categories at week 12 and 24 among the warfarin-treated patients were reported in Table S8
by Patel and colleagues (2016) and are replicated below [TABLE 5.4].


TABLE 5.4. Table S8 from Patel 2016. Event rates by concordance (category agreement) at week 12 and
24 among warfarin-treated patients. Events per 100 PY (total events) are shown.




Comparisons in this table can be simplified by expressing percent increase or decrease in risk, relative to
reference rate in the samples in which the Lab and POC were in the same category [TABLE 5.5]. Bleeding
is the outcome most likely to be affected by the faulty POC reading. Data in the above table are




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consisting in demonstrating higher bleeding rates in patients with samples that were underestimated by
the POC. For example, major bleeding was a 17% higher for patients with underestimates at week 12
and 20% higher for patients with underestimates at week 24. Data are also consistent in showing lower
rates of bleeding in patients that had their INRs overestimated by the POC device (Recall that were
many more instance of underestimation than overestimation.) Therefore, this analysis is consistent with
the common sense inference that chronic underestimation of INRs will increase the bleeding rate in the
trial, distorting the results while making rivaroxaban appear safer than justified.


Table 5.5. Event rates by concordance (category agreement) at weeks 12 and 24 among warfarin-
treated patients. Events per 100 pt-years are shown for reference group. For discordant categories,
percent increase or decrease in risk relative to reference group are reported.
                                            Week 12                              Week 24
                            Lab and                                   Lab and
                            POC INR in POC INR                        POC INR
                            same            >1           POC INR      in same    POC INR POC INR
                            category        category     >1           category   >1          >1
                            (reference lower             category     (reference category category
Event                       rate)                        higher       rate)      lower       higher
Efficacy
N                           3562            1950         211          3343       1929        200


Stroke                       1.77          + 1%          - 27%         1.37           + 19%    - 2%
All-cause mortality          1.57          + 34%         + 16%         1.62           - 5%     - 34%
Vascular death               1.27          + 13%         + 23%         1.22           - 2%     - 34%
Safety
N                            3590          1960          211           3366           1938     201


Major/NMCR Bleeding          12.86         + 13%         - 23%         12.60          + 11%    - 13%
NMCR bleeding                10.38         + 14%         - 20%         10.43          + 8%     - 15%
Major bleeding               2.72          + 17%         - 42%         2.49           + 20%    - 14%
 Fatal bleeding              0.33          + 52%         - 21%         0.25           + 48%    + 112%
 Critical organ bleeding     0.91          + 16%         - 71%         0.85           + 5%     + 26%
 Hemoglobin drop             1.79          + 27%         - 27%         1.70           + 18%    - 37%
 Transfusion required        1.03          + 19%         - 23%         0.85           + 55%    - 38%
 ICH                         0.62          - 2%          - 58%         0.52           - 8%     + 106%
 GI bleeding                 1.08          - 13%         - 52%         0.85           + 41%    - 38%




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5.4.4    Sensitivity analysis is not a substitute for large scale study

The sensitivity analysis discussed in this section are not a substitute for a large scale study with well-
managed warfarin. As Carl Henegan (Professor of Evidence Based Medicine at Oxford) has noted “We
need a trial to assess the safety and efficacy of rivaroxaban. Just one caveat—it should be run
independently” (Cohen 2016). Nevertheless, the above sensitivity analyses do provide insight into the
fact that the ROCKET trial was designed and carried out in a way that distorted the study by increasing
the rate of bleeding in the warfarin arm, biasing the results in favor of rivaroxaban.




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5.5 SECTION SUMMARY POINTS
1. INR measurements must be accurate for clinicians to make appropriate decisions about warfarin
    dosing.
2. ROCKET AF relied on INRatio® point-of-care coagulometers to determine INRs in its warfarin users.
    The sponsor did not adequately test or evaluate the accuracy of the INRatio® device before it was
    adopted for use or during the initial phase of the trial. In addition, performance was not
    systematically monitored under the prevailing conditions of the trial, as it should have been.
3. Published evidence that has accumulated since the completion of the trial confirms that the
    INRatio® has inferior precision and diagnostic reliability compared to many other similar devices on
    the market.
4. Same-day (paired) samples from week 12 and week 24 follow-up visits in ROCKET determined that
    the INRatio® devices used in the trial underestimated INRs by 0.5 units on average compared to the
    reference laboratory. In addition, the paired-sample analyses showed that the INRatio® in ROCKET
    failed to meet the already overly-broad ISO 17593 standards for POC coagulometer accuracy.
5. One-third (33%) of the clearly supratherapeutic samples identified by the reference lab (INRLAB > 4)
    were misdiagnosed as therapeutic or hypotherapeutic by the point-of-care devices used in ROCKET
    (INRPOC ≤ 3). A large percentage of the over-anticoagulated patients in ROCKET AF, therefore, did not
    have the opportunity to have their dose properly adjusted.
6. Inaccurate readings from the POC devices used in ROCKET AF frequently led to over-anticoagulation
    of study subjects in the control (warfarin) arm of the trial, increasing bleeding rates and skewing the
    safety results in favor of rivaroxaban.
7. Although we recognize that sensitivity analysis is not a substitute for large scale outcome-based
    trials, it does provide insight into the fact that warfarin is significantly safer than rivaroxaban, even
    with the poorly warfarin management at many ROCKET AF clinical center sites. This certainly shifts
    the benefit/risk ratio away from rivaroxaban and toward warfarin.




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6 DOSE

6.1 FDA REVIEW

A basic principal of therapeutics is to seek the dose of a drug that maximizes benefits while minimizing
risks. This is particularly true for anticoagulation, where the goal is to give a high enough dose to prevent
thromboembolism, but not to give too much and increase the risk of bleeding. If the proper dose is
achieved, these agents are safe and effective. Too high a dose, however, causes more harm than good.


Prior to the initiation of ROCKET AF, in September of 2006 when rivaroxaban was still being referred to
as rivarizaban (BA 59-7939), the FDA expressed the opinion that twice daily dosing would be preferable
to once daily dosing for rivaroxaban; example of a statement by FDA prior to the initiation of ROCKET
AF: “In study 11223, there was some suggestion that a twice daily dosing regimen was more effective
compared to a once daily dosing regimen” (FDA 2006). The agency has never seen 20 mg once daily
dosing as optimal, and has stood by this position through the Sep 2011 Advisory Committee meeting
(FDA Briefing Document 2011, p. 28). The FDA applied several lines of reasons (pharmacokinetic,
pharmacodynamic, dose-response data, other studies) that support the use of a reduced dose delivered
in twice daily installments. For example, pharmacodynamic studies have shown that Factor 10a levels
and prothrombin times were highly correlated with concentrations of the drug; 2.5 mg, 5.0 mg, and 10
mg twice daily dosing has been shown to be effective in the Acute Coronary Syndrome Development
Program trial (Mega 2009; Mega 2012) and in preventing recurrent VTE; etc.



The argument in favor of 20 mg once daily dosing of rivaroxaban appears to have been based on data
from two, phase II dose-ranging studies of rivaroxaban in patients with acute symptomatic deep venous
thromboembolism (Girgis 2014). However, it had been used successfully to prevent venous
thromboembolism at the 10 mg dose and to prevent coronary thrombosis at the 2.5 mg and 5 mg twice
daily dose (Mega 2009; Mega 2012; Weitz 2015). In addition, the basic pharmacokinetic data and
pharmacodynamic data from ROCKET AF strongly suggested that split daily dosing would be safer and no
less effective.




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Because RIVA has a relatively short half-life [TABLE 6.1], its effects will fluctuate more with one daily
dosing than with twice daily dosing. FIGURE 6.1 illustrates larger peaks and troughs with 20 mg QD
dosing compared to 10 mg BID dosing. Greater within-individual variability is logically associated with
lower efficacy and higher bleeding risk.


TABLE 6.1. Half-lives and peak effects of oral anticoagulants.
Drug                     Abbreviation Dosing frequency (daily)                                      half-life        peak effect
rivaroxaban (Xarelto®) RIVA            Once                                                       5 – 13 h(1)            2-4h
edoxaban (Savaysa®) EDOX               Once                                                      10 - 14 h(2)            1-3h
apixaban (Eliquis®)      APIX          Twice                                                          ~6 h(3)                3h
dabigatran (Pradaxa® DABI              Twice                                                     12 – 17 h(4)            1-2h
warfarin (Coumadin®) WARF              Once                                                         ~40 h(5)           72 - 96 h
(1) XARELTO (rivaroxaban) tablets, for oral use, Prescribing Information, revised 03/2013, pp. 8, 23. Different half-lives reported
for younger patients (5 – 9 h) and elderly patients (11 - 13 h).
(2) SAVAYSA (edoxaban) tablets for oral use prescribing information, revised 01/2015, p. 16.
(3) FDA (2012) Clinical Pharmacology Review of apixaban (NDA 202-155), p. 4. ELIQUIS (apixaban) tablets for oral use
Prescribing Information, Revised: 12/2012, p. 14. Apparent half-life during repeat dosing is about 12 hours.
(4) PRADAXA® (dabigatran) capsules for oral use, Prescribing Information, Revised: 11/2011, p. 5.
(5) COUMADIN (warfarin sodium) tablets, for oral use, Prescribing Information, revised: 12/2015, p. 6. Varies by affected
vitamin K-dependent clotting factor.




FIGURE 6.1. Simulation - 20 mg QD vs. 10 mg BID. Source: FDA 2011 Briefing Document, p. 34.



Unfortunately, the ROCKET AF trial did not permit a direct empirical comparison of two different
rivaroxaban dose regimens: it tested only 20 mg once daily dosing (and 15 mg QD for patients with


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reduced renal function). In contrast, the RE-LY study tested two different twice-daily doses (150 mg BID
and 110 mg BID) of dabigatran. Because RE-LY tested two doses, it was able to better empirically
evaluate the dose-related effects of the drug. Based on this information, the FDA ultimately concluded
that the 150 mg twice-daily dabigatran was preferable to 110 mg twice daily (Beasley 2011). Because
ROCKET tested only once-daily dosing, it was unable to empirically evaluate the relative safety and
efficacy of twice-daily dosing.


Nevertheless, rivaroxaban produces pharmacodynamic effects that are closely correlated with its
plasma concentrations (Mueck 2008). In addition, the pharmacodynamic parameters associated with
rivaroxaban are linearly associated with major bleeding risk. FIGURE 6.2 illustrates the linear dose-
response between prothrombin time in rivaroxaban users and major bleeding. This linear dose-response
relationship was found to apply to multiple definitions of major bleeding (FDA 2011a; Mehran 2011;
Schulman 2005). It also applied to various pharmacodynamic parameters, including prothrombinase-
induced clotting time, factor 10A activity, INR levels, and rivaroxaban concentration.




FIGURE 6.2. ROCKET AF major bleeding by PT quartile, last dose + 2 days, per protocol. Source FDA 2011 Briefing Document p.
40. Major bleeding definition is ISTH (Schulman 2005).

In contrast, FIGURE 6.3 demonstrated a “flat” dose-response relation between various pharmadynamic
factors (e.g., prothrombin time) associated with rivaroxaban and stroke occurrence. This flat relation
held true for PK/PD parameter considered by the FDA (FDA 2011a). The flat relationship for efficacy and



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linear (increasing) dose-response relation for safety strongly suggests that the benefit/risk ratio of
rivaroxaban can be improved by applying a lower dose twice per day (e.g., 10 mg BID).




FIGURE 6.3. ROCKET ischemic stroke vs. PT (last dose +2 days, per protocol). Source FDA 2011 Briefing Document, p. 39.



6.2 PRECISION DOSING

For pharmaceuticals that have a relatively flat safety dose-response curve, we do not normally adjust
dosage on a patient-by-patient basis. However, for drugs that have steep dose-response risk curves for
safety, as is true for anticoagulants, it makes sense to tailor the dose to individual patients in order to
minimize risks while maintaining benefits.


FIGURE 2.1 (located toward the beginning of this report) illustrates the shape of the safety and efficacy
dose-response curves for warfarin. For efficacy, we see a steep drop in stroke risk until the INR reaches
2.0, at which point the risk levels out. In contrast, the risk of intracranial hemorrhage increases nearly
exponentially when INRs climbs above 3.0. Note that the “sweet spot” for warfarin (i.e., where stroke
prevention is maximized and bleeding risk is near minimized) is 2.0 – 3.0. [The relationship may appear
linear on the graph, but is nearly exponential because the Y-axis represents odds ratios, which are
multiplicative, not additive.] These dose-response “shapes” also apply to novel oral anticoagulants in a
general way.



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FIGURE 6.4 demonstrates the predicted probability of stroke and systemic embolism (purple) and
hemorrhage (pink) for trough plasma concentration for dabigatran (Pradaxa®) (Reilly 2014). For stroke
prevention, we see an initial steep decline and then a flattening-out. For bleeding risk, we see a steep
increase with no flattening-out. The sweet spot (i.e., therapeutic range) for dabigatran, therefore,
appears to be in the 50 and 125 ng/ml range (Chin 2014). Certainly, we would want to keep dabigatran
concentrations below 200 ng/ml (EMA 2011).




FIGURE 6.4. Dabigatran dose-response. Source: Reilly 2014.



The novel oral anticoagulant edoxaban (Savaysa®) was approved for the prevention of stroke and
systemic embolism in non-valvular atrial fibrillation patients in the United States in January of 2015. Like
rivaroxaban, edoxaban is a direct factor Xa inhibitor. FIGURE 6.5 illustrates the dose-response curves for
edoxaban. Once again we see a point where efficacy is nearly maximized and where higher-and-higher
concentrations of the drug are associated with increasing risks of bleeding. Informally (by eye-balling
the graph), the sweet spot for edoxaban appears to be around 60 ng/ml (maybe a little less, maybe a
little more).




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FIGURE 7.2. Edoxaban dose-response curves for Ischemic stroke (blue) and life threatening bleeds (green). Source: Temple
(2015).

These pharmacodynamics strongly suggest that the benefit/risk ratio of novel oral anticoagulants can be
maximized by finding a therapeutic range that [nearly] maximizes benefits before risks climb to
unacceptable levels. “Why would you not try to reduce the risk of bleeding, especially when this can be
done with little loss of efficacy?” (Eikelboom 2015).


The argument against individualized monitoring and dose adjustment seems to be based on cost,
complexity, and practicality (Berkowitz 2015). There are also specific questions about whether drug
levels remain stable over time, whether the desirable range differs by patient type, how to achieve the
desirable range, and how to maximize net clinical outcomes (Eikelboom 2015). However, former FDA/
CDER Director Bob Temple (2015) makes this “common sense” argument when he asks,


         How hard could it be to get one NOAC blood level (when monthly or greater levels are
         SOC for warfarin) if blood levels predict outcomes (which they appear to do so)?
         It seems self-evidently worth it.




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6.3 SECTION SUMMARY
1. The goal of anticoagulation therapy is to give a high enough dose to prevent thromboembolism, but
    not to give too much and increase the risk of bleeding.
2. The greater intra-individual daily fluctuation expected with once-daily 20 mg dosing, with higher
    peak concentrations, would be expected to lead to greater risks in bleeding than 10 mg doses
    administered twice daily.
3. Prior to the initiation of the ROCKET AF trial, the FDA expressed the opinion that splitting the dose
    into twice daily allotments would be preferable to once daily dosing. “Agreement was not
    prospectively achieved on the dose(s) to be tested prior to the execution of the ROCKET trial” (FDA
    Briefing Documents 2011, p. 28).
4. ROCKET’s study design of introducing only once-daily 20 mg dosing of rivaroxaban precluded the
    ability to make outcome-based empirical comparisons by dose.
5. The pharmacokinetic characteristics of rivaroxaban, and pharmacodynamically “flat” dose-response
    curves for efficacy (i.e., no further benefit with higher doses) and linear dose-response curves for
    safety (i.e., increasing bleeding risk with higher doses) led the FDA to conclude that 10 mg twice-
    daily rivaroxaban would prove superior to 20 mg once-daily rivaroxaban in terms of its risk/benefit
    balance.
6. The pharmacodynamics of rivaroxaban and other novel oral anticoagulants strongly suggest that
    their benefit/risk balance can be improved by individualizing dose for each patient. “Why would you
    not try to reduce the risk of bleeding, especially when this can be done with little loss of efficacy?”
    (Eikelboom 2015).




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7 DISCUSSION AND RECOMMENDATIONS

7.1 NARRATIVE SUMMARY

The non-inferiority trial known as ROCKET AF compared 20 mg of once daily rivaroxaban to dose-
adjusted warfarin for the prevention of ischemic stroke and systemic embolism in patients with non-
valvular atrial fibrillation. The trial took place at 1178 clinical sites in 45 countries in North America, Latin
America, West Europe, East Europe, and Asia Pacific, enrolled 14,264 study subjects (approx. 7K in each
arm of the trial), and ran from Dec 2006 to May 2010. Licensing of rivaroxaban for this indication was
considered at the Sep 8, 2011 meeting of the FDA Cardiovascular and Renal Drugs Advisory Committee
Meeting.


Section 1 of this report provides background and chronology relevant to the licensing of rivaroxaban for
stroke prevention in patients with non-valvular atrial fibrillation. The pivotal phase III clinical trial
(ROCKET AF) is introduced, as is the FDA Advisory Meeting September 8, 2011 at which the licensing of
the drug was discussed.


Section 2 of this report describes issues related to study design and methods of ROCKET AF trial. The
following issues interfere with the interpretation of ROCKET-AF trial data: use of an enriched study
population (e.g., high prevalence of prior stroke/TIA), lack of a centralized warfarin dose-adjustment
algorithm, low mean TTR and inadequacy of warfarin control, and failure to follow patients according to
an adequate data scope that would maintain the probability models to prove non-inferiority and/or
superiority (as appropriate), reduce bias, and provide evidence-based results. Non-inferiority trials like
ROCKET AF are based on an assumption of constancy, i.e., that warfarin will have its usual effect or
better. Before the ROCKET AF was initiated, the FDA pointed out that testing the drug in an enriched
population with a prevalence of prior strokes would cause problems in interpretation because there was
no assurance that warfarin would exert its usual effect in this type of population, i.e., because a sizable
proportion of the cerebrovascular events could be unrelated to atrial fibrillation. Compounding this
problem was the fact that ROCKET AF failed to achieve TTRs that were comparable to other industry-
sponsored novel oral anticoagulants trials: mean TTRs: SPORTIF III 66%, SPORTIF V 68%, RE-LY 64%,
ARISTOTLE 62%, ENGAGE AF65%. The ROCKET AF mean TTR of 55 was 10 point lower on average than


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these other trials. In clinics and regions that did achieve TTRs in the mid-60s range, ROCKET AF failed to
meet the non-inferiority margin set by the trial. Truncating follow-up at last dose plus two days also left
some questions about the evidence based medical findings of the data, and with questions about
questions of diagnostic bias and potential problems with bridging.


Section 3 of the report addresses whether we should be reasonably convinced of rivaroxaban non-
inferiority in its efficacy to prevent strokes and systemic embolism. The most reliable analysis would
address thrombotic stroke and systemic embolism only (anticoagulation does not prevent hemorrhagic
stroke), a balanced data scope (of say, last dose plus 30 days), and well-managed warfarin. An analyses
that met all three of these requirements is not simultaneously available. Nonetheless, rivaroxaban did
not meet the non-inferiority margin for well-managed warfarin (TTR ≥ 65) with a last dose plus 30-day
data scope (HR 1.10, 95% CI 0.75 – 1.64). The prescribing information (“product label”) for rivaroxaban
acknowledges this in stating “There are limited data on the relative effectiveness of XARELTO and
warfarin in reducing the risk of stroke and systemic embolism when warfarin therapy is well-controlled.”


Section 4 addresses the safety of rivaroxaban. The primary safety objective of ROCKET was to find
rivaroxaban superior to warfarin in safety. However, the primary safety endpoint (major bleeding and
clinically relevant non-major bleeding) occurred more frequently with rivaroxaban than with warfarin
(HR 1.03, 95% CI 0.96 – 1.11). Therefore, rivaroxaban did not meet the primary safety objective of the
study. Among clinics with well-managed warfarin (TTR ≥ 65), rivaroxaban was significantly less safe than
warfarin, where the HR for the pre-specified primary safety endpoint was 1.23 (95% CI 1.08 – 1.40).


Major bleeding occurred more frequently with rivaroxaban than with warfarin (HR 1.04, 95% CI 0.90 –
1.12). Among clinical centers with well-managed warfarin, major bleeding occurred significantly more
frequently with rivaroxaban than with warfarin (HR 1.47, 95% CI 1.14 – 1.89). In contrast, critical organ
bleeding (primarily in the form of intracranial hemorrhage) occurred significantly less frequently with
rivaroxaban than with warfarin (HR 0.69, 95% CI 0.53 – 0.91). This difference is chiefly explained by the
high frequency of intracranial hemorrhage among East Asian warfarin users (Pheterogeneity = .029). In
regions outside of East Asia, there was no significant difference between rivaroxaban and warfarin for
intracranial bleeding (RR 0.78, 95% CI 0.53 – 1.14) and critical organ bleeding (RR 0.76, 95% CI 0.52 –
1.01).



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In the United States, which is most applicable, rivaroxaban was significantly less safe than warfarin. The
HR for the primary safety endpoint was 1.28 (95% CI 1.09 – 1.50). The HR for major bleeding was 1.50
(95% CI 1.14 – 1.98). At the US clinics with well-managed warfarin (TTR ≥ 65), major bleeding occurred at
twice the rate with rivaroxaban compared to warfarin (e.g., Quartile 3 TTR HR 1.93, 95% CI 1.12 – 3.33).
There was no significant difference in critical organ bleeds, intracranial hemorrhage, or fatal bleeds
between rivaroxaban and warfarin in US centers. Rivaroxaban is less safe than warfarin when warfarin is
well managed.


Section 5 of this report and the separate Appendix Report find that the INRatio® point-of-care devices
used in ROCKET were faulty and should not have been used, compromising the results of the study. The
unreliability of the instrument contributed to the low TTRs in the trial while elevating bleeding rates in
the warfarin arm, making rivaroxaban seem relative safer than it would have otherwise. Various
sensitivity analyses do not substitute for a large scale study in which warfarin was well-managed
warfarin, but are nonetheless consistent with the belief that rivaroxaban is significantly less safe than
well-managed warfarin for the prevention of stroke in patients with non-valvular atrial fibrillation.


The final section of the report (§6), addresses the dose of rivaroxaban. ROCKET’s study design
considered only once-daily 20 mg doses, precluding the ability to empirically compare outcomes by
dose. However, the relatively short half-live or rivaroxaban along with its pharmacodynamic allow us to
infer that 10 mg twice-daily rivaroxaban would have a superior benefit/risk ratio compared to once-daily
20 mg dosing. In addition, the pharmacodynamics of rivaroxaban [and other novel oral anticoagulants]
strongly suggest that benefit/risk balance can be improved by tailoring the dose to the metabolism of
individual patients.


7.2 WARNING FOR BLEEDING RISK

More accurate labeling is required better reflect the risks of bleeding associated with rivaroxaban use.
Oral anticoagulants are among the highest risk drugs used in the outpatients. The safety of long-term
oral anti-coagulation therapy is a national drug safety priority (Wysowski 2007).




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The FDA currently requires the manufacturer of warfarin to place the highest level of warning—a boxed
warning and additional information—on the warfarin product labels. No similar warning appears in the
rivaroxaban product label, even though rivaroxaban is associated with a greater risk of serious bleeding
compared to warfarin. Therefore, a boxed warning for bleeding in the rivaroxaban label is overdue.




                         FIGURE 7.1. Warfarin’s boxed warning (Bristol-Myers Squibb 2011).

In addition to improved labeling and physician education, improved monitoring and patient education
are essential if we hope to increase the safety of anticoagulation (Fiumara 2009).This applies to whether
the patients are on warfarin or on any of the novel oral anticoagulants such as rivaroxaban and
dabigatran.


7.3 RIVAROXABAN COMPARED TO OTHER NOVEL ORAL ANTICOAGULANTS

We now have five oral anticoagulants that are approved for stroke prevention in patients with non-
valvular atrial fibrillation: warfarin, dabigatran, apixaban, edoxaban, and rivaroxaban. Our choices of
which anticoagulant to use must be informed by knowledge of which anticoagulant best balances the
risks and benefits of stroke prevention for each patient. Given these alternatives, there may be some
advantage in using one anticoagulant, novel or otherwise.


In terms of the novel oral anticoagulants:


    •   Dabigatran (Pradaxa®) was approved in 2010, before rivaroxaban, and was proven to be non-
        inferior to warfarin in a trial called RE-LY. Dabigatran was an open-label comparison of two-
        different (blinded) twice-daily doses of dabigatran to dose-adjusted warfarin. RE-LY achieved a
        mean TTR of 64% in its warfarin users and was proven to be non-inferior to warfarin at clinical
        sites with TTRs above 67 percent (Connolly 2009).




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    •   Apixaban (Eliquis®) was approved in 2012. The pivotal trial in the licensing of apixaban is
        referred to as ARISTOTLE. ARISTOTLE was a double-blind trial that compared apixaban at a dose
        of 5 mg twice daily to dose-adjusted warfarin. It achieved a mean TTR of a little over 62%
        (Granger 2011).
    •   Edoxaban (Savaysa) was approved for SPAF in 2014. The pivotal trial for this drug's SPAF
        indication is called ENGAGE AF-TIMI. ENGAGE was a double-blinded comparison of two once-
        daily regimens of edoxaban with warfarin. It achieved a mean TTR of 68% in its warfarin users.


Each of these novel oral anticoagulants met their non-inferiority margins with far better warfarin
management than is evident in the ROCKET trial. Rivaroxaban should be required to meet these same
standards for safety and efficacy.




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